        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 1 of 76




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


                                         MDL No. 2843
IN RE: FACEBOOK, INC. CONSUMER           Case No: 18-MD-2843 VC (JSC) (N.D. Cal)
PRIVACY USER PROFILE LITIGATION,
                                         Hon. Vince Chhabria
                                         Courtroom 4 – 17th Floor
This document relates to:                Special Master: Daniel Garrie, Esq.

ALL ACTIONS                                ORDER REGARDING MOTION TO
                                           COMPEL MARK ZUCKERBERG
                                           NOTEBOOKS – ORDER NO. 3

                                           JAMS REF. NO: 1200058674




 ORDER REGARDING MOTION TO COMPEL MARK ZUCKERBERG NOTEBOOKS – ORDER NO. 3
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 2 of 76




                                         BACKGROUND

        1.     On August 18, 2021, Special Master Daniel Garrie (“Special Master Garrie”) and

Hon. Gail Andler (Ret.) declared impasse on the issue of whether Facebook should be compelled

to locate and produce any of Mark Zuckerberg’s hard copy work related notebooks that exist

(“Zuckerberg Notebooks”).

        2.     Pursuant to the Protocol for Resolving Discovery Disputes, Plaintiffs submitted

their opening brief regarding the Zuckerberg Notebooks on September 1, 2021. Plaintiffs argue

that Facebook should be compelled to locate, search, and produce the Zuckerberg Notebooks be-

cause they are relevant to the claims in this matter and responsive to Plaintiffs’ discovery re-

quests. Plaintiffs base their claim that the Zuckerberg Notebooks are relevant primarily on Ste-

ven Levy’s book Facebook: The Inside Story, which discusses a seventeen page extract from the

Zuckerberg Notebooks. “For instance, Levy writes that Zuckerberg ‘outlined ideas about pri-

vacy’ in the notebook excerpt, and that Facebook team members were ‘guided by copied pages

from the Book of Change’ notebook in developing core features of the Facebook Platform, in-

cluding Open Registration, News Feed, and Privacy Controls.” See Exhibit A (Plaintiffs’ Motion

to Compel Production of Zuckerberg Notebooks), at 5.

        3.     Facebook submitted their Opposition to Plaintiffs’ Motion to Compel Production

of Zuckerberg Notebooks on September 14, 2021. Facebook argues that (a) “notebooks from Fa-

cebook’s early history are not relevant to Plaintiffs’ claims, which involve features of Facebook,

such as friend-sharing, that did not exist in 2006”; (b) Plaintiffs should not be permitted to “em-

bark on a fishing expedition through the personal files of Facebook’s CEO for documents that

they can only speculate (1) exist, (2) date the relevant time period, and (3) contain relevant infor-




                                                  1
 ORDER REGARDING MOTION TO COMPEL MARK ZUCKERBERG NOTEBOOKS – ORDER NO. 3
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 3 of 76




mation”; (c) “Plaintiffs pursue the notebooks for the improper purpose of harassing Mr. Zucker-

berg”; and (d) “none of the four RFPs Plaintiffs identified in connection with the Motion seek

Mr. Zuckerberg’s notebooks. Rather, they are limited by their terms to documents from 2007 and

later and cannot be stretched to encompass the notebooks.” See Exhibit B (Opposition to Plain-

tiffs’ Motion to Compel Production of Zuckerberg Notebooks) at 4-5.

        4.     Plaintiffs argue in the their Reply ISO Motion to Compel Production of Zucker-

berg Notebooks that (a) Plaintiffs have met their burden of demonstrating the relevancy of their

request; (b) Plaintiffs’ RFPs encompass the Zuckerberg Notebooks; (c) the relevant time period

of Plaintiffs’ RFPs encompasses all of the Zuckerberg Notebooks, including those going back to

2006; and (d) Facebook’s production obligations are not limited to custodial sources. See Exhibit

C (Reply ISO Motion to Compel Production of Zuckerberg Notebooks).

                                            FINDINGS

        5.     Special Master Garrie finds that Plaintiffs have met their burden of demonstrating

the relevancy of their request for the Zuckerberg Notebooks. Levy’s book indicates that “use[d]

those notebooks to convey a detailed version of his product vision’ to others”. See Exhibit C, at 2

citing Steven Levy, Facebook: The Inside Story 118 (2020). According to Levy, this product vi-

sion included “a privacy ‘mixer’ that let users control who would see an item about them” See

Exhibit C, at 2 citing Steven Levy, Facebook: The Inside Story 118 (2020). This request is rele-

vant to at least one of the core allegations Facebook identifies in its Opposition: “[g]iving app

developers access to sensitive user information” by enabling them “to obtain any information

about the users’ Facebook friends that the users themselves had access to” (i.e., friend-sharing)

“from roughly 2009 to 2015”. See Exhibit B, at 4. Facebook claims, without reviewing the note-




                                                 2
 ORDER REGARDING MOTION TO COMPEL MARK ZUCKERBERG NOTEBOOKS – ORDER NO. 3
           Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 4 of 76




books themselves, that the Zuckerberg Notebooks are not relevant because Plaintiffs’ claims “in-

volve features of Facebook, such as friend-sharing, that did not exist in 2006”. See Exhibit B, at

4. Facebook’s argument fails, however, because application features such as those at issue in this

matter often take years to develop and it is possible information related to the design of future

Facebook features exists in notebooks from 2006, if not notebooks from later years. In any event,

Facebook is not able to assert that the Zuckerberg Notebooks are in fact not relevant without re-

viewing them.

           6.   Special Master Garrie finds that Plaintiffs’ RFPs encompass the Zuckerberg Note-

books as the Zuckerberg Notebooks are responsive to RFPs 57, 35, and 38. See Exhibit C, at 4-5.

           7.   Special Master Garrie finds that the relevant time period of Plaintiffs’ RFPs en-

compasses all of the Zuckerberg Notebooks, including those going back to 2006. See Exhibit C,

at 6, citing Decl. of Alexander P. Swanson in Supp. of Opp. to Pls.’ Mot. to Compel Ex. 8 at 10

(“Each Document Request shall be interpreted to include all documents and information that re-

late to the Relevant Time Period or otherwise-specified period, even if such documents or infor-

mation was prepared or published outside of the Relevant Time Period or otherwise-specified pe-

riod.”).

           8.   Special Master Garrie finds that Facebook’s production obligations are not limited

to custodial sources. The ESI Protocol agreed to by the parties does not limit Facebook’s discov-

ery obligations to only the identified custodians. Rather the ESI Protocol states “[i]n addition to

identifying documents pursuant to an agreed upon search protocol, the parties recognize that they

are obligated to produce relevant, responsive, non-privileged documents of which they are

aware, regardless of whether such documents contain any of the agreed upon or additional




                                                 3
 ORDER REGARDING MOTION TO COMPEL MARK ZUCKERBERG NOTEBOOKS – ORDER NO. 3
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 5 of 76




search terms.” See Exhibit D (ESI Protocol), at 4. Facebook provides to no evidence that search-

ing and producing responsive documents from the Zuckerberg Notebooks is inconsistent with the

ESI Protocol.

                                              ORDER

        9.      No later than November 15, 2021, Facebook is to locate and collect any Zucker-

berg Notebooks that exist and complete a preliminary responsiveness review of a sample of the

notebooks as set out in paragraph 10 below.

        10.     After collecting the Zuckerberg Notebooks, Facebook is to estimate and report to

Special Master Garrie the total number of pages of information contained therein. Facebook is to

make a good faith effort to manually review a random sample of approximately 10% of the esti-

mated total pages and report to Special Master Garrie the number of pages identified as respon-

sive. Special Master Garrie will issue an order setting out next steps based on the information

provided by Facebook.


IT IS SO ORDERED.


       September 29, 2021                            ______________________________
                                                     Daniel Garrie
                                                     Discovery Special Master




                                                4
 ORDER REGARDING MOTION TO COMPEL MARK ZUCKERBERG NOTEBOOKS – ORDER NO. 3
Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 6 of 76




  EXHIBIT A
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 7 of 76




Derek W. Loeser (admitted pro hac vice)       Lesley E. Weaver (SBN 191305)
KELLER ROHRBACK L.L.P.                        BLEICHMAR FONTI & AULD LLP
1201 Third Avenue, Suite 3200                 555 12th Street, Suite 1600
Seattle, WA 98101                             Oakland, CA 94607
Tel.: (206) 623-1900                          Tel.: (415) 445-4003
Fax: (206) 623-3384                           Fax: (415) 445-4020
dloeser@kellerrohrback.com                    lweaver@bfalaw.com

Plaintiffs’ Co-Lead Counsel

Additional counsel listed on signature page


                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC


This document relates to:                      PLAINTIFFS’ MOTION TO COMPEL
                                               PRODUCTION OF ZUCKERBERG
ALL ACTIONS                                    NOTEBOOKS

                                               Discovery Special Master: Daniel Garrie, Esq.




PLAINTIFFS’ MOTION TO COMPEL                                                    MDL NO. 2843
PRODUCTION OF ZUCKERBERG                                             CASE NO. 18-MD-02843-VC
NOTEBOOKS
           Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 8 of 76




                                          I.   INTRODUCTION
          Plaintiffs move to compel Facebook to search for and produce the notebooks of CEO

Mark Zuckerberg that touch upon Facebook’s approach to privacy and Facebook’s monetization.

The notebooks are responsive to Plaintiffs’ discovery requests and contain evidence that is

directly relevant to the claims at issue in this litigation.1

          The seventeen-page excerpt of the Zuckerberg notebooks discussed in journalist Steven

Levy’s book Facebook: The Inside Story, as well as an article adapted from this book that was

published in Wired magazine on February 12, 2020, makes clear that even the 2006 entries

address issues that lie at the core of this case: did Facebook, at Mark Zuckerberg’s direction,

subvert its privacy promises to users in order to monetize the data they provided? The article and

book suggest yes. According to Levy, Zuckerberg “seemed at least as concerned about the

perception of privacy as about privacy itself,” asking himself “‘[w]hat makes this seem secure,

whether or not it actually is?”

          Such thoughts are not academic here. Zuckerberg has been at the forefront of the

campaign to assure users that Facebook cares about privacy. As set forth in Plaintiffs’ Second

Amended Complaint (“SAC”), Dkt. No. 491, Zuckerberg has publicly stated:

             •   “Privacy is very important to us.” SAC ¶ 668.

             •   “I founded Facebook on the idea that people want to share and connect with
                 people in their lives, but to do this everyone needs complete control over who

                 they share with at all times. This idea has been the core of Facebook since day

                 one. . . .” Id. ¶ 669.

             •   “As a matter of fact, privacy is so deeply embedded in all of the development we

                 do that every day . . . These privacy principles are written very deeply into our

                 code.” Id. ¶ 670.

          There is no question that a factfinder would find compelling CEO Zuckerberg’s thoughts

1
    Plaintiffs are mindful that Facebook has not yet produced the custodial files of Mr. Zuckerberg
    and would be amenable to deferring this issue pending the production of his files.
PLAINTIFFS’ MOTION TO COMPEL                        1                                   MDL NO. 2843
PRODUCTION OF ZUCKERBERG                                                     CASE NO. 18-MD-02843-VC
NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 9 of 76



and internal messaging to Facebook employees about privacy at the same time that he is publicly

assuring users and the public that Facebook values privacy. Tellingly, despite multiple

discussions spanning a year over this issue, Facebook has not even searched for and reviewed the

notebooks.

       The notebooks are highly relevant evidence of the wide gap between Facebook’s internal

and public-facing statements regarding user privacy. Facebook has refused to search for and

produce these materials in this action, even when specifically asked to do so over a year ago. It

must do so now.

                                    II.     BACKGROUND
A.     Plaintiffs Learned of the Zuckerberg Notebooks Through Media Reports
       Zuckerberg kept notebooks at least as far back as 2006. See id. It is unclear when

Zuckerberg stopped keeping notebooks—Levy states that “[i]n later years, Zuckerberg would be

less enthusiastic about logging things.” Id. But earlier, “you would have seen him in the Palo

Alto office, head down, scrawling on an unruled journal in his crabbed, compact script, sketching

out product ideas, diagramming coding approaches, and slipping in bits of his philosophy.” The

Inside Story at 118. These notebooks were extensive—visitors to his apartment “might spot a

stack of completed notebooks.” Zuckerberg “use[d] those notebooks to convey a detailed version

of his product vision” to others, and Facebook engineers and designers “would sometimes find a

few photocopied pages sketching out a design for a front end or a list of signals for a ranking
algorithm.” Id.

       According to Levy, Zuckerberg stated that he had destroyed his notebooks, explaining

that “Facebook’s lawyers identified his cherished notebooks as potential evidence in future

intellectual-property lawsuits, and so he destroyed them.” Id. at 118-19. If the notebooks were

actually destroyed, it is unclear when they were destroyed or which law firm proposed their

destruction.

       Notwithstanding this report, some or all of the notebooks may exist—so Plaintiffs ask the
Special Master to order Facebook to search for and review all portions of these notebooks in its

PLAINTIFFS’ MOTION TO COMPEL                     2                                    MDL NO. 2843
PRODUCTION OF ZUCKERBERG                                                   CASE NO. 18-MD-02843-VC
NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 10 of 76



possession.

       Further, even if Zuckerberg did in fact destroy most of the notebooks, they “aren’t totally

lost,” and “[s]nippets left behind, presumably those he copied and shared, present a revealing

window into his thinking at the time.” Id. at 119. For instance, Mr. Levy “managed to get a

seventeen-page chunk from what might be the most significant of his journals in terms of

Facebook’s evolution,” called the “‘Book of Change.’” Id. Facebook has not indicated whether it

possesses those 17 pages.

       In an excerpt from the Book of Change, Zuckerberg reveals his plans for the News Feed,

which took information from friends’ profiles and delivered it to users as “a continuous stream of
news, flowing up [the] screen in reverse chronological order.” Id. at 123. In planning the News

Feed, Zuckerberg “outlined ideas of privacy,” designed “a ‘Mini-Feed’ that would track

activities of and about individual users,” and set forth “a host of other ideas.” Id. at 129.

According to Levy, the News Feed team was “guided by copied pages from the Book of

Change.” Id. at 127.

       When the News Feed launched, it was met with public outcry on account of privacy

concerns—“[w]hat Facebook simply hadn’t realized about the News Feed was that pushing

information to people was qualitatively different from publishing it on someone’s home page.”

Id. at 141. In response to this public outcry, Zuckerberg publicly promised “to add privacy

controls to address the complaints,” and the News Feed team “gin[ned] up the protections that
should have been in the product to begin with, including a privacy ‘mixer’ that let users control

who would see an item about them.” Id. at 143. The Complaint specifically identifies the outcry

over Beacon, the news feed algorithm which revealed users’ activity, to friends. SAC ¶ 468.

B.     Procedural History
       Plaintiffs referenced the Zuckerberg notebooks in their April 3, 2020 Rule 30(b)(6)

deposition notice to Facebook. See Decl. of Christopher Springer in Supp. of Pls.’ Mot. to

Compel Production of Zuckerberg Notebooks (“Springer Decl.”) Ex. 1.
       Since then, Plaintiffs have repeatedly raised the issue of whether Facebook would search

PLAINTIFFS’ MOTION TO COMPEL                       3                                     MDL NO. 2843
PRODUCTION OF ZUCKERBERG                                                      CASE NO. 18-MD-02843-VC
NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 11 of 76



for and produce the Zuckerberg notebooks, including in a December 17, 2020 email, multiple

meet and confer sessions in January of this year, and in the context of discovery mediation, as set

forth in Plaintiffs’ Separate Statement in Support of Plaintiffs’ Motion to Compel Production of

Zuckerberg Notebooks (“Separate Statement”). Most recently, at the August 18, 2021 discovery

mediation, Facebook repeated its earlier refusal to search for and produce the Zuckerberg

notebooks, arguing that the notebooks are not responsive to any of Plaintiffs’ discovery requests,

that the notebooks are from 2006 and are therefore outside the time period of the case, and that

the notebooks are not relevant. Springer Decl. ¶ 4.

                                      LEGAL STANDARD
       Federal Rule of Civil Procedure 26(b)(1) states that “[p]arties may obtain discovery

regarding any nonprivileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). “Relevant information need not

be admissible to be discoverable,” and “[c]ourts generally recognize that relevancy

for purposes of discovery is broader than relevancy for purposes of trial.” In re Subpoena to

PayPal Holdings, Inc., No. 18CV937CFCMPTDDEL, 2020 WL 3073221, at *2 (N.D. Cal. June

10, 2020). In this regard, “[r]elevancy, for the purposes of discovery, is defined broadly,

although it is not without ultimate and necessary boundaries.” Gonzales v. Google, Inc., 234

F.R.D. 674, 679-80 (N.D. Cal. 2006).

       “The party seeking to compel discovery bears the burden of establishing that its request
satisfies the relevancy requirements of Rule 26(b)(1),” and “the party opposing discovery has the

burden of showing that discovery should not be allowed, and also has the burden of clarifying,

explaining and supporting its objections with competent evidence.” Harris v. Best Buy Stores,

L.P., No. 315CV00657HSGKAW, 2016 WL 6024556, at *1 (N.D. Cal. Oct. 14, 2016).

                                       III.   ARGUMENT
       The Zuckerberg notebooks are relevant to Plaintiffs’ claims, responsive to Plaintiffs’

discovery requests, and should be produced.



PLAINTIFFS’ MOTION TO COMPEL                     4                                     MDL NO. 2843
PRODUCTION OF ZUCKERBERG                                                    CASE NO. 18-MD-02843-VC
NOTEBOOKS
          Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 12 of 76



A.        The Zuckerberg Notebooks Are Relevant to Core Issues in this Litigation.
          Facebook’s conclusory assertion that the Zuckerberg notebooks are not relevant to this

litigation should be rejected. Facebook has not even searched for or reviewed any portions of the

Zuckerberg notebooks in its possession, so it does not know what material is contained within

those notebooks and cannot make any credible representations regarding the relevance of that

material. Before its assertion of irrelevance can be considered, Facebook should at least be

required to search for and review the documents it claims are irrelevant.2

          The seventeen-page extract discussed in the Levy book contains information relevant to

this litigation, including Facebook’s approach to privacy. For instance, Levy writes that

Zuckerberg “outlined ideas about privacy” in the notebook excerpt, and that Facebook team

members were “guided by copied pages from the Book of Change” notebook in developing core

features of the Facebook Platform, including Open Registration, News Feed, and Privacy

Controls. Id. at 119-44.

          The notebooks appear to be especially relevant to the questions whether Facebook’s

conduct has been willful and intentional so as to support the imposition of punitive damages. The

notebook excerpt in Levy’s book indicates that Zuckerberg “seemed at least as concerned about

the perception of privacy as about privacy itself,” asking himself “‘[w]hat makes this seem

secure, whether or not it actually is?” Id. at 122-23. By bearing on users’ expectations of privacy,

this evidence is also relevant to Plaintiffs’ claims for invasion of privacy and breach of the
implied covenant of good faith and fair dealing.

          The excerpt also includes plans for creating “personal profiles about people who weren’t

on Facebook,” which Zuckerberg recognized could be perceived as raising privacy concerns and

being “‘creepy.’” Id. at 129. That Facebook appears to have implemented these plans at least in

part despite conscious awareness of such privacy concerns suggests that Facebook intentionally

and willfully violated user privacy. See id. at 130.


2
    If Facebook presents new facts in its opposition, Plaintiffs reserve the right to seek discovery
    about those facts and/or respond.
PLAINTIFFS’ MOTION TO COMPEL                        5                                    MDL NO. 2843
PRODUCTION OF ZUCKERBERG                                                      CASE NO. 18-MD-02843-VC
NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 13 of 76



B.     Facebook’s Argument About the Time Period of Discovery is Meritless.
       The Court has already ruled that discovery dating back to January 1, 2007 may be

relevant, stating that “[i]t is highly plausible that documents dating back to 2007 could be

probative of Facebook’s intent regarding the future handling of users’ private information.”

Pretrial Order No. 36, Dkt. No. 381 (submitted as Springer Decl. Ex. 2).

       Facebook’s assertion that the Zuckerberg notebooks are categorically outside the scope of

discovery because they were written in 2006 should be rejected. Although the Levy book

indicates that the seventeen-page excerpt from one of Zuckerberg’s notebooks was dated in

2006, this book also indicates that Zuckerberg had “a stack of completed notebooks,” and

Facebook makes no representation regarding the dates of those other notebooks. See The Inside

Story at 118. Excerpts of Zuckerberg’s notebooks were copied and distributed to Facebook

employees, and Facebook has failed to determine when these copies were distributed.

Accordingly, some or all of the notebooks in Facebook’s possession may be dated 2007 or later,

or distributed to employees in 2007 or later, which Facebook does not dispute is within the scope

of discovery.

       Just as important, the 2006 excerpt is relevant to Plaintiffs’ claims. They are about the

privacy settings that form the heart of Plaintiffs’ breach of contract, invasion of privacy, and

breach of the covenant of good faith and fair dealing claims. Any information shedding light on

whether statements made during the class period were false or misled users is relevant, even if
the information is contained in documents created before that period. In re U.S. Aggregates, Inc..

Sec. Litig., 235 F. Supp. 2d 1063, 1068 (N.D. Cal. 2002) (citing In re Scholastic Corp. Sec.

Litig., 252 F.3d 63, 72 (2d Cir. 2001)); see also Lee v. Hertz Corp., 2019 WL 6219742, at *1-

2 (N.D. Cal. Nov. 19, 2019) (ordering the production of documents created before the class

period that provide information about allegedly discriminatory policies that remained in place

during the class period).

C.     Facebook Has Refused to Even Search for and Review the Notebooks.
       Facebook asserts that the Zuckerberg notebooks are not relevant or responsive. What

PLAINTIFFS’ MOTION TO COMPEL                      6                                    MDL NO. 2843
PRODUCTION OF ZUCKERBERG                                                    CASE NO. 18-MD-02843-VC
NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 14 of 76



undermines this assertion is the fact that it has failed even to search for and review any existing

copies of these notebooks. As a result, Facebook cannot answer any of the following questions—

questions that must be answered before its assertions of irrelevance and unresponsiveness can be

taken seriously.

       1.      What is the time period covered by the notebooks? Although the excerpt
               discussed in the Levy book and article—which apparently constitute everything
               that counsel for Facebook has reviewed in conjunction with Plaintiffs’ request—
               discuss an excerpt from a journal dated in 2006, it is unclear when the first and
               last notebooks were written? In this regard, Levy states that “[i]n later years,
               Zuckerberg would be less enthusiastic about logging things,” suggesting that he
               continued to write notebooks for years after 2006. See The Inside Story at 118.

       2.      Did Zuckerberg in fact destroy his notebooks? Although the Levy book
               indicates that Zuckerberg destroyed his notebooks at the advice of counsel, this
               falls far short of a sworn statement to this effect. See id. at 118-19. If Zuckerberg
               did in fact destroy these notebooks, when did this destruction occur? Did he
               destroy all of his notebooks or just some of them? Did he retain copies of any of
               his notebooks or parts thereof?

       3.      Does Facebook possess copies of any of the notebooks or parts thereof? Even
               if Zuckerberg completely destroyed his notebooks, the Levy book states that “the
               notebooks aren’t totally lost,” and “[s]nippets [were] left behind, presumably
               those he copied and shared,” including “a seventeen-page chunk” obtained by
               Levy. Id. at 119. Insofar as Zuckerberg copied pages from his notebooks and gave
               them to Facebook engineers and designers “to convey a detailed version of his
               product vision” to others, it appears likely that such copies exist. See id. at 118.

       4.      On what dates were the copies of the notebooks shared or made accessible?
               Facebook asserts that the notebooks are from 2006 and are therefore outside the
               time period of the case. Putting aside the weakness of this argument, which is
               addressed below, Facebook fails to make any statement or showing regarding
               when any copies of the notebooks or portions thereof were shared or made
               accessible, which may have occurred from 2007 onward, a period that Facebook
               does not dispute is within the scope of discovery.

       5.      What are the contents of the notebooks? Based on counsel for Facebook’s
               representations, including its refusal to search for and review these notebooks,
               Facebook doesn’t know any more about these notebooks than what has been
               publicly reported. Without searching for and reviewing the Zuckerberg
               notebooks, Facebook cannot make any credible representations or arguments
               regarding the responsiveness or relevance of the contents of these notebooks.



PLAINTIFFS’ MOTION TO COMPEL                      7                                    MDL NO. 2843
PRODUCTION OF ZUCKERBERG                                                    CASE NO. 18-MD-02843-VC
NOTEBOOKS
         Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 15 of 76



                                       IV.     CONCLUSION
         For the reasons set forth herein, Plaintiffs respectfully request that the Special Master

grant their motion to compel production of Mark Zuckerberg’s notebooks.

Dated: August 30, 2021                                     Respectfully submitted,


KELLER ROHRBACK L.L.P.                                     BLEICHMAR FONTI & AULD LLP

By:      /s/ Derek W. Loeser                               By:     /s/ Lesley E. Weaver
         Derek W. Loeser                                           Lesley E. Weaver

Derek W. Loeser (admitted pro hac vice)                    Lesley E. Weaver (SBN 191305)
Cari Campen Laufenberg (admitted pro hac vice)             Anne K. Davis (SBN 267909)
David Ko (admitted pro hac vice)                           Matthew S. Melamed (SBN 260272)
Adele A. Daniel (admitted pro hac vice)                    Angelica M. Ornelas (SBN 285929)
Benjamin Gould (SBN 250630)                                Joshua D. Samra (SBN 313050)
1201 Third Avenue, Suite 3200                              555 12th Street, Suite 1600
Seattle, WA 98101                                          Oakland, CA 94607
Tel.: (206) 623-1900                                       Tel.: (415) 445-4003
Fax: (206) 623-3384                                        Fax: (415) 445-4020
dloeser@kellerrohrback.com                                 lweaver@bfalaw.com
claufenberg@kellerrohrback.com                             adavis@bfalaw.com
dko@kellerrohrback.com                                     mmelamed@bfalaw.com
adaniel@kellerrohrback.com                                 aornelas@bfalaw.com
bgould@kellerrohrback.com                                  jsamra@bfalaw.com

Christopher Springer (SBN 291180)
801 Garden Street, Suite 301
Santa Barbara, CA 93101
Tel.: (805) 456-1496
Fax: (805) 456-1497
cspringer@kellerrohrback.com

Eric Fierro (admitted pro hac vice)
3101 North Central Avenue, Suite 1400
Phoenix, AZ 85012
Tel: (602) 248-0088
Fax: (602) 248-2822
efierro@kellerrohrback.com
                                   Plaintiffs’ Co-Lead Counsel
4846-0322-9433, v. 2




PLAINTIFFS’ MOTION TO COMPEL                       8                                     MDL NO. 2843
PRODUCTION OF ZUCKERBERG                                                      CASE NO. 18-MD-02843-VC
NOTEBOOKS
Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 16 of 76




   EXHIBIT B
                       Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 17 of 76


               1    GIBSON, DUNN & CRUTCHER LLP                GIBSON, DUNN & CRUTCHER LLP
                    Orin Snyder (pro hac vice)                 Deborah Stein (SBN 224570)
               2      osnyder@gibsondunn.com                     dstein@gibsondunn.com
                    200 Park Avenue                            333 South Grand Avenue
               3    New York, NY 10166-0193                    Los Angeles, CA 90071-3197
                    Telephone: 212.351.4000                    Telephone: 213.229.7000
               4    Facsimile: 212.351.4035                    Facsimile: 213.229.7520
               5    Kristin A. Linsley (SBN 154148)            Joshua S. Lipshutz (SBN 242557)
                      klinsley@gibsondunn.com                    jlipshutz@gibsondunn.com
               6    Martie Kutscher (SBN 302650)               1050 Connecticut Avenue, N.W.
                      mkutscherclark@gibsondunn.com            Washington, DC 20036-5306
               7    555 Mission Street, Suite 3000             Telephone: 202.955.8500
                    San Francisco, CA 94105-0921               Facsimile: 202.467.0539
               8    Telephone: 415.393.8200
                    Facsimile: 415.393.8306
               9
                    Attorneys for Defendant Facebook, Inc.
           10

           11

           12                                    UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
           13                                       SAN FRANCISCO DIVISION

           14

           15
                   IN RE: FACEBOOK, INC. CONSUMER               CASE NO. 3:19-CV-04591-VC
           16      PRIVACY USER PROFILE LITIGATION,
                                                                FACEBOOK’S OPPOSITION TO
           17      This document relates to:                    PLAINTIFFS’ MOTION TO COMPEL
                                                                PRODUCTION OF ZUCKERBERG
           18      ALL ACTIONS                                  NOTEBOOKS

           19                                                   Discovery Special Master: Daniel Garrie, Esq.

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &         FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                          NOTEBOOKS
                                                   CASE NO. 3:18-MD-02843-VC
                          Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 18 of 76


               1                                                         TABLE OF CONTENTS

               2   I.       INTRODUCTION ................................................................................................................... 1
               3   II.      FACTUAL AND PROCEDURAL BACKGROUND .......................................................... 2
               4            A.        The Notebooks In Context of Facebook’s History ................................................... 2
               5            B.        The Scope of Plaintiffs Active Claims ....................................................................... 3
               6   III.     ARGUMENT ........................................................................................................................... 4
               7            A.        Mark Zuckerberg’s notebook from 2006 is not relevant to the claims and
                                      defenses in this action. ................................................................................................ 5
               8
                            B.        Facebook has no obligation to search for unidentified notebooks from
               9                      after 2006 that may not exist. ..................................................................................... 7
           10               C.        Plaintiffs’ demand for the notebooks is an improper attempt to harass and
                                      embarrass Facebook’s CEO. ...................................................................................... 9
           11
                            D.        Mr. Zuckerberg’s notebooks are not responsive to Plaintiffs’ requests for
           12                         production. ................................................................................................................. 11
           13      IV.      CONCLUSION...................................................................................................................... 13
           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28
                                                                                          i
Gibson, Dunn &            FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                             NOTEBOOKS
                                                      CASE NO. 3:18-MD-02843-VC
                          Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 19 of 76


               1                                                       TABLE OF AUTHORITIES

               2                                                                                                                                          Page(s)
                                                                                       Cases
               3   BankDirect Cap. Finance, LLC v. Cap. Premium Financing, Inc.,
               4      No. 15 C 10340, 2018 WL 946396 (N.D. Ill. Feb. 20, 2018) ...........................................................5

               5   Bermudez v. Duenas,
                      936 F.2d 1064 (9th Cir. 1991).........................................................................................................11
               6
                   BlackBerry Ltd. v. Facebook, Inc.,
               7      No. CV 18-1844-GW, 2019 WL 4544425 (C.D. Cal. Aug. 19, 2019) ...........................................10
               8   Blackmond v. UT Med. Grp., Inc.,
                      No. 02-2890 MAV, 2004 WL 3142214 (W.D. Tenn. Nov. 2, 2004) .............................................11
               9

           10      Bresk v. Unimerica Ins. Co.,
                      No. CV 16-8893 ODW (SSX), 2017 WL 10439831 (C.D. Cal. Nov. 16, 2017)..............................8
           11
                   Children’s Health Def. v. Facebook Inc.,
           12         No. 20-CV-05787-SI, 2021 WL 2662064 (N.D. Cal. June 29, 2021) ............................................10
           13      Haggarty v. Wells Fargo Bank, N.A.,
                      No. 10-2416 CRB (JSC), 2012 WL 3939321 (N.D. Cal. Sept. 4, 2012) ..........................................6
           14
                   Harris v. Best Buy Stores, L.P.,
           15
                      No. 3:15-cv-00657-HSG (KAW), 2016 WL 6024556 (N.D. Cal. Oct. 14, 2016) ........................5, 8
           16
                   Harris v. Union Pacific Railroad Co.,
           17         Case No. 8:16CV381, 2018 WL 2729131 (D. Neb. June 6, 2018).................................................10

           18      Hickman v. Taylor,
                      329 U.S. 495 (1947) ..........................................................................................................................9
           19
                   Lane v. Facebook, Inc.,
           20
                      5:08-cv-03845 (N.D. Cal.) ................................................................................................................4
           21
                   Lauris v. Novarits AG,
           22         No. 1:16-cv-0393-LIO-SAB, 2016 WL 7178602 (E.D. Cal. Dec. 8, 2016) .....................................5

           23      Lutzeier v. Citigroup Inc.,
                      No. 4:14-cv-00183-RLW, 2015 WL 430196 (E.D. Mo. Feb. 2, 2015) ............................................9
           24
                   Tulip Computers Int’l BV v. Dell Computer Corp.,
           25          Case No. CIV.A. 00-981-RRM, 2002 WL 818061 (D. Del. Apr. 30, 2002) ..................................10
           26
                   United States v. Celgene Corp.,
           27         No. CV 10-3165 GHK (SS), 2015 WL 9661172 (C.D. Cal. Oct. 16, 2015) ....................................9

           28

Gibson, Dunn &
                                                                                          ii
Crutcher LLP
                         FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
                                                            NOTEBOOKS
                          Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 20 of 76


               1                                                      TABLE OF AUTHORITIES
                                                                            (continued)
               2   Youngevity Int’l, Inc. v. Smith,                                                                Page(s)
               3      No. 16-CV-704 BTM (JLB), 2017 WL 2692928 (S.D. Cal. June 22, 2017) ....................................9

               4   Rules

               5   Fed. R. Civ. P. 26(b)(1) .......................................................................................................................5, 6

               6   Fed. R. Civ. P. 26(c)(1) ...........................................................................................................................9

               7   Fed. R. Civ. P. 34(b)(2)(A) ...................................................................................................................11
               8   Fed. R. Civ. P. 37(a)(3)(B)....................................................................................................................11
               9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28
                                                                                           iii
Gibson, Dunn &           FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                            NOTEBOOKS
                                                     CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 21 of 76


               1                                          I.      INTRODUCTION
               2           Plaintiffs move to compel production of the “scrawlings,” “sketches,” and “juvenile jottings”

               3   appearing in personal notebooks handwritten by Facebook’s founder and CEO, Mark Zuckerberg, in

               4   Facebook’s early days, more than 15 years ago. Assuming they even exist, Mr. Zuckerberg’s early,

               5   private writings are neither relevant to Plaintiffs’ claims nor responsive to the discovery requests

               6   identified in their motion, and Plaintiffs know it. The true purpose of their motion is not to obtain

               7   evidence that is material to this litigation. Instead, it is another attempt to open a discovery free-for-all

               8   and exert pressure on Facebook by harassing and embarrassing its CEO, who is not a party, or even a

               9   document custodian, in this action.

           10              Plaintiffs’ newfound interest in Mr. Zuckerberg’s notebooks derives from the same source that

           11      so many of their out-of-bounds discovery requests emanate: a media report. A February 2020 article

           12      by journalist Steven Levy in Wired Magazine, 1 adapted from Levy’s book, Facebook: The Inside Story,

           13      discusses “a 17-page chunk” of a notebook Mr. Zuckerberg kept in 2006, when he was 22 years old

           14      and Facebook was 2 years old. According to Levy, these pages contain “outlines” of Mr. Zuckerberg’s

           15      early plans for “Open Registration”—opening Facebook to the general public, where before it had

           16      mostly been limited to students; and for “Feed”—the now familiar News Feed feature. Levy also

           17      claims that Mr. Zuckerberg “mused about privacy” in the notebook, posing some philosophical

           18      questions to himself about potential ramifications of opening Facebook beyond students, which would

           19      greatly expand Facebook’s user base.

           20              Plaintiffs attempt to seize on these purported “mus[ings]” to argue, in essence, that Mr.

           21      Zuckerberg’s notebooks are relevant because they contain his early thoughts about privacy, and

           22      Plaintiffs’ case also involves privacy. This is not just a stretch. It is absurd. Plaintiffs’ case is not

           23      about “privacy” writ large, and it is certainly not about Mr. Zuckerberg's nascent thoughts about privacy

           24      15 years ago. Plaintiffs’ claims arise out of the Cambridge Analytica events that occurred 10 years after

           25      the notebook in question was supposedly written.         Judge Chhabria has allowed the case to move

           26      forward with respect to four specific theories about how Facebook allegedly shared data with app

           27      developers and certain partners of Facebook. But “apps” could not be used on Facebook until Facebook

           28      1
                        https://www.wired.com/story/facebook-mark-zuckerberg-lost-notebook/

Gibson, Dunn &
                                                                        1
Crutcher LLP
                       FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
                                                          NOTEBOOKS
                         Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 22 of 76


               1   introduced its “Platform” in 2007, and the feature that enabled app developers to access a user’s friends’
               2   data did not exist until 2010. The notebooks Plaintiffs seek were written long before the data-sharing
               3   practices at issue in this case were even a glimmer (or potentially foreseeable).
               4           Even if Mr. Zuckerberg had somehow presciently foreseen these developments in 2006, his
               5   musings from this irrelevant time period would not be probative of the actual policies and practices
               6   Facebook implemented many years later, let alone of Plaintiffs’ claims in this action.               More
               7   fundamentally, the scope of discovery is circumscribed by Federal Rule of Civil Procedure 26(b)(1) to
               8   material “relevant to any party’s claim or defense and proportional to the needs of the case. None of
               9   the live claims or defenses here relate to “privacy” in the abstract. Mr. Zuckerberg’s private sketches
           10      are miles and miles beyond the bounds of relevance under the Federal Rules of Civil Procedure.
           11              Plaintiffs’ Motion must fail for the additional reason that it does not identify any request for
           12      production to which Mr. Zuckerberg’s notebooks are responsive, which Plaintiffs effectively conceded
           13      by serving a request for production that does seek Mr. Zuckerberg’s notebooks on the same day they
           14      filed the Motion. Plaintiffs limited all the requests at issue in this Motion to documents from 2007 and
           15      later, consistent with the Court’s decision that the relevant time period for discovery begins in 2007,
           16      thereby excluding the 2006 notebook mentioned in the Wired article. Even setting aside the relevant
           17      time period, none of the RFPs listed in the Motion can be stretched to encompass Mr. Zuckerberg’s
           18      notebooks. Instead, Plaintiffs’ requests generally seek information about Facebook’s specific practices
           19      and policies relating to data access, disclosures, and enforcement of data use policies during the relevant
           20      time period. This does not include personal notebooks from Facebook’s early days that have no bearing
           21      on the actual material issues in this case.
           22              For these reasons, and as discussed below, Plaintiffs’ motion to compel should be denied.
           23                          II.     FACTUAL AND PROCEDURAL BACKGROUND
           24       A.      The Notebooks In Context of Facebook’s History
           25              Plaintiffs seek Mark Zuckerberg’s personal notebooks from a very early period in Facebook’s
           26      history. When “TheFacebook” launched in 2004, it was limited to college students. Many of the
           27      features that characterize today’s user experience had not even been conceived. The Wired article
           28      discusses plans in Mr. Zuckerberg’s 2006 notebook for opening Facebook to the general public and
                                                                       2
Gibson, Dunn &           FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                            NOTEBOOKS
                                                     CASE NO. 3:18-MD-02843-VC
                            Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 23 of 76


               1
                   launching News Feed. Declaration of A. Swanson, Ex. 1 at 7–8. These were relatively early
               2
                   developments, both debuting in September 2006. See id. , Ex. 2 at 140. The features at issue in
               3
                   Plaintiffs’ lawsuit were still years away.
               4
                              Plaintiffs’ claims are based on alleged disclosure of user data in connection with development
               5
                   of “apps”—applications that users can download to their phones—for use on or in conjunction with
               6
                   Facebook. See Dkt. 298 at 6-9. But apps were not available on Facebook until it launched the
               7
                   “Platform” in May 2007, which gave users access to a small number of apps on the Facebook website.
               8
                   See SACC ¶ 230. Also in 2007, Facebook began working directly with operating systems, device
               9
                   makers, and some other partners to create Facebook-like apps for their devices.
           10
                              The method by which app developers allegedly gained access to some Facebook users’ data
           11
                   through their friends’ app permissions did not exist until 2010, when Facebook launched a platform
           12
                   that allowed apps to connect with Facebook through an Application Programming Interface (“API”)
           13
                   called Graph API V1. 2 A user could grant an app permission to retrieve information on their public
           14
                   profiles—such as their names,profile pictures, and other data that user had chosen to make publicly
           15
                   available—by “calling” Graph API. An app could also request access to the same or similar categories
           16
                   of information about that user’s friends—if their friends’ privacy settings allowed it. This process was
           17
                   called “friend-sharing” and it underpins the Cambridge Analytica events central to this case, which did
           18
                   not begin until November 2013, when Cambridge University researcher Aleksandr Kogan created a
           19
                   personality quiz app using Graph API V1.
           20
                              The only events in Facebook’s history that could reasonably be related to the allegations of
           21
                   misconduct that Judge Chhabria allowed to move forward occurred long after Mr. Zuckerberg, writing
           22
                   in his personal notebook in 2006, “mused about privacy” in connection with much earlier, and
           23
                   completely unrelated, features of the early Facebook platform.
           24
                       B.      The Scope of Plaintiffs Active Claims
           25
                              As Judge Chhabria found, Plaintiffs attempted to cram “anything Facebook has ever been
           26
                   reported to have done wrong” into a complaint that “runs 414 pages and includes 1,442 paragraphs,” 3
           27
                   2
                            https://developers.facebook.com/docs/graph-api/changelog/versions/
           28      3
                            The operative Second Amended Consolidated Complaint (“SACC”) is 355 pages and 1,388
                                                                        3
Gibson, Dunn &              FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                               NOTEBOOKS
                                                        CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 24 of 76


               1   which contained “so many disparate and vague allegations” that it was “nearly impossible for Facebook
               2   to meaningfully respond to all of them, much less for the Court to effectively address them.” Dkt. 298
               3   at 5-6.
               4             To impose a semblance of manageability on the litigation, and recognizing that Plaintiffs’
               5   lawsuit “stems from the Cambridge Analytica scandal” in 2016, the Court limited Plaintiffs’ active
               6   claims to four core allegations: (1) “[g]iving app developers access to sensitive user information” by
               7   enabling them “to obtain any information about the users’ Facebook friends that the users themselves
               8   had access to” (i.e., friend-sharing) “from roughly 2009 to 2015”; (2) “[c]ontinued disclosure [via
               9   friend-sharing] to whitelisted apps” after 2014; (3) “[s]haring sensitive user information with business
           10      partners,” to which “Facebook [allegedly] outsourced . . . ‘the time, labor, and money required to build
           11      Facebook’s Platform on different devices and operating systems,’” (4) “[f]ailure to restrict [third
           12      parties’] use of sensitive information” accessed in these ways. Dkt. 298 at 1, 6-9.
           13                Plaintiffs’ live claims do not encompass all alleged or conceivable wrongdoing at Facebook
           14      regarding confidentiality of user data. Plaintiffs’ live claims concern four specific theories of alleged
           15      conduct that Judge Chhabria laid out. Plaintiffs have nevertheless pursued the same kitchen sink and
           16      elastic strategy in discovery that the Court rejected at the pleading stage. Plaintiffs’ attempts to make
           17      this case about “plans for creating ‘personal profiles about people who weren’t on Facebook,’” or “the
           18      outcry over Beacon” (launched in November 2007 and the subject of a different class action lawsuit 4),
           19      among other irrelevant issues, are just the latest examples. Mot. at 3, 5. Plaintiffs should not be allowed
           20      discovery beyond the defined scope of alleged liability.
           21                                               III.    ARGUMENT
           22                Plaintiffs’ Motion fails for four reasons. First, Mr. Zuckerberg’s notebooks from Facebook’s
           23      early history are not relevant to Plaintiffs’ claims, which involve features of Facebook, such as
           24      friend-sharing, that did not exist in 2006. Second, to the extent other notebooks or portions thereof
           25      exist, Plaintiffs should not be permitted to take a description in a news article about “juvenile
           26      jottings” in a 2006 notebook, expand their interest to all notebooks, and embark on a fishing
           27
                   paragraphs. Dkt. 491.
           28      4
                       Lane v. Facebook, Inc., 5:08-cv-03845 (N.D. Cal.).
                                                                   4
Gibson, Dunn &         FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                          NOTEBOOKS
                                                   CASE NO. 3:18-MD-02843-VC
                         Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 25 of 76


               1   expedition through the personal files of Facebook’s CEO for documents that they can only speculate
               2   (1) exist, (2) date the relevant time period, and (3) contain relevant information. Third, ignoring the
               3   vast quantity of documents Facebook has produced on the features of Facebook at issue in this case,
               4   Plaintiffs pursue the notebooks for the improper purpose of harassing Mr. Zuckerberg. Fourth, none
               5   of the four RFPs Plaintiffs identified in connection with the Motion seek Mr. Zuckerberg’s
               6   notebooks. Rather, they are limited by their terms to documents from 2007 and later and cannot be
               7   stretched to encompass the notebooks.
               8    A.       Mark Zuckerberg’s notebook from 2006 is not relevant to the claims and defenses in
                             this action.
               9
                             Plaintiffs’ Motion should be denied because they fail to carry their burden to show that Mr.
           10
                   Zuckerberg’s “jottings” in a notebook 15 years ago are relevant to the issues to be litigated in this case.
           11
                   As Plaintiffs acknowledge, “[t]he party seeking to compel discovery bears the burden of establishing
           12
                   that its request satisfies the relevancy requirements of Rule 26(b)(1).” Mot. at 4 (quoting Harris v.
           13
                   Best Buy Stores, L.P., No. 3:15-cv-00657-HSG (KAW), 2016 WL 6024556, at *1 (N.D. Cal. Oct. 14,
           14
                   2016)).
           15
                             Nonprivileged information is discoverable only if it is “relevant to any party’s claim or defense
           16
                   and proportional to the needs of the case, considering” factors including “the importance of the
           17
                   discovery in resolving the issues, and whether the burden or expense of the proposed discovery
           18
                   outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). “[T]he right to even plainly relevant discovery,”
           19
                   unlike the notebooks in question here, “is not limitless.” Lauris v. Novarits AG, No. 1:16-cv-0393-
           20
                   LIO-SAB, 2016 WL 7178602, at *4 (E.D. Cal. Dec. 8, 2016). Thus, litigants may not treat discovery
           21
                   as “a ticket to an unlimited, never-ending exploration of every conceivable matter that captures an
           22
                   attorney’s interest.” BankDirect Cap. Finance, LLC v. Cap. Premium Financing, Inc., No. 15 C 10340,
           23
                   2018 WL 946396, at *3 (N.D. Ill. Feb. 20, 2018).
           24
                             To the contrary, the Court specifically admonished Plaintiffs that “discovery is . . . not supposed
           25
                   to be a fishing expedition” when Plaintiffs sought “vastly overbroad” discovery into the “evolving
           26
                   landscape of . . . what Facebook is doing.” Swanson Decl., Ex. [8/23/18 Hrg. Tr.] at 25:9-26:14 see
           27
                   also Haggarty v. Wells Fargo Bank, N.A., No. 10-2416 CRB (JSC), 2012 WL 3939321, at *1 (N.D.
           28
                                                                         5
Gibson, Dunn &           FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                            NOTEBOOKS
                                                     CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 26 of 76


               1
                   Cal. Sept. 4, 2012) (“[D]iscovery may not be used as a fishing expedition.” (citations and quotation
               2
                   marks omitted)).
               3
                          Mr. Zuckerberg’s nascent ideas from Facebook’s earliest days are not relevant to the “four core
               4
                   categories of misconduct” to which this case is limited. Dkt. 298 at 9. Theoretical privacy questions
               5
                   Mr. Zuckerberg apparently posed to himself in 2006 have no bearing on Facebook’s actual conduct
               6
                   years later (willful, intentional, or otherwise) involving features of Facebook, such as friend-sharing,
               7
                   at issue in this case—features that did not exist, and could not have been contemplated, when Mr.
               8
                   Zuckerberg allegedly wrote those words. Indeed, the Cambridge Analytica events centered on friend-
               9
                   sharing via Graph API V1, which Facebook introduced in 2010. Even “apps” as Facebook users know
           10
                   them were not available on Facebook until May 2007. And not until 2007 did Facebook begin working
           11
                   directly with the so-called “business partners” Plaintiffs describe in their complaint to create Facebook-
           12
                   like functionalities on their platforms and devices. Any remarks about privacy in a notebook from
           13
                   2006 could not possibly be probative of the manner in which, years later, Facebook enabled friend-
           14
                   sharing through apps and worked with partners to build Facebook functionalities.
           15
                          Plaintiffs fail to meet their burden to show relevance, instead only offering four nebulous
           16
                   arguments that fail to articulate any concrete relationship between Mr. Zuckerberg’s notebook and the
           17
                   claims at issue.
           18
                          First, Plaintiffs vaguely proclaim that any musings Mr. Zuckerberg had about privacy suggest
           19
                   “Facebook’s conduct has been willful and intentional,” worthy of “the imposition of punitive
           20
                   damages.” Mot. at 5. Plaintiffs fail to identify this “conduct,” explain how it supports their claims, or
           21
                   tie Mr. Zuckerberg’s musings to it. 5
           22
                          Second, Plaintiffs argue that the 2006 notebook “is relevant to this litigation, including
           23
                   Facebook’s approach to privacy” because “Zuckerberg ‘outlined ideas about privacy’ in the notebook.”
           24
                   Mot. at 5. Plaintiffs are incorrect. To be relevant to this litigation, the notebook must relate to the
           25
                   claims and theories at issue here. Fed. R. Civ. P. 26(b)(1). Yet Plaintiffs fail to identify any such
           26
                   relevance—nor could they, since the claims and issues in this case relate to features that did not exist
           27
                   5
           28       If Plaintiffs clarify their position in their reply or advance new arguments, Facebook requests an
                   opportunity to respond.
                                                                          6
Gibson, Dunn &         FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                          NOTEBOOKS
                                                   CASE NO. 3:18-MD-02843-VC
                            Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 27 of 76


               1
                   when the notebook was written. Again, privacy in general is not at issue here, so the notebook is not
               2
                   relevant simply because it may loosely relate to general attitudes or ideas about privacy.
               3
                              Third, attempting to manufacture some connection between the 2006 notebook and this action,
               4
                   Plaintiffs claim that Levy wrote that Facebook team members were “guided” by the 2006 notebook “in
               5
                   developing core features of the Facebook Platform, including Open Registration, News Feed, and
               6
                   Privacy Controls.” Mot. at 5 (emphasis added). Neither Open Registration nor News Feed involve
               7
                   data sharing with third parties. With respect to Privacy Controls, Plaintiffs misrepresent Levy’s hearsay
               8
                   commentary. Nowhere in his book or the Wired article does Levy write that Mr. Zuckerberg’s
               9
                   notebooks guided development of “Privacy Controls” that could relate to data sharing with third parties.
           10
                   To the contrary, Levy writes that the Facebook team scrambled to implement “privacy controls” for
           11
                   News Feed after public backlash against the new feature, meaning that, to the extent the 2006 notebook
           12
                   guided development of News Feed, it did not contain directions for “Privacy Controls.” Swanson
           13
                   Decl., Ex. 2 at 143. In any event, the advent of News Feed did not involve data sharing with third
           14
                   parties, 6 so neither did any “Privacy Controls” implemented in response to a backlash.
           15
                              Finally, Plaintiffs contend that simply by “bearing on users’ expectations of privacy,” the 2006
           16
                   notebook is “relevant to Plaintiffs’ claims for invasion of privacy and breach of the implied covenant
           17
                   of good faith and fair dealing.” Mot. at 5. Plaintiffs fail to explain how the private “mus[ings]” of a
           18
                   22-year-old Mark Zuckerberg in 2006 could have informed users’ expectations of privacy, when the
           19
                   musings were Zuckerberg’s private, personal writings, not a public announcement. Rather, user
           20
                   expectations—to the extent they are relevant—would have been informed by Facebook’s actual
           21
                   practices and existing features and settings. Whether such conduct is informed by or consistent with
           22
                   the musings of Facebook’s founder years earlier has no bearing on Plaintiffs’ claims.
           23
                       B.      Facebook has no obligation to search for unidentified notebooks from after 2006 that
           24                  may not exist.
           25                 Plaintiffs do not confine their Motion to the 2006 notebook fragment discussed in the Wired

           26      article. Instead, based on untethered speculation that other notebooks, or at least “snippets” thereof,

           27
                   6
           28       News Feed curated information about users’ Facebook friends to which they already had access.
                   Swanson Decl., Ex. 2 at 139-41. This is completely unrelated to Plaintiffs’ claims.
                                                                   7
Gibson, Dunn &              FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                               NOTEBOOKS
                                                        CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 28 of 76


               1
                   “may exist,” Plaintiffs also demand that Facebook “search for and review all portions of these
               2
                   notebooks in its possession.” Mot. at 2-3. Plaintiffs argue that because Facebook has not yet tried to
               3
                   search for these hypothetical snippets, it cannot prove that they are not relevant. Mot. at 5. Plaintiffs’
               4
                   position is meritless.
               5
                          It is Plaintiffs’ burden to establish the relevance of unidentified and potentially nonexistent
               6
                   notebooks, not Facebook’s. See Mot. at 4 (quoting Harris v. Best Buy Stores, L.P., No. 3:15-cv-00657-
               7
                   HSG (KAW), 2016 WL 6024556, at *1 (N.D. Cal. Oct. 14, 2016)). Plaintiffs offer nothing to show
               8
                   that additional notebooks written after the 2006 notebook discussed in the article even exist, let alone
               9
                   contain relevant information. In the Wired article, Levy alludes to the possible existence of a “stack of
           10
                   completed journals” in Mr. Zuckerberg’s apartment in 2006 when Levy first interviewed Zuckerberg,
           11
                   but as discussed above, notebooks from this time period, if any exist, are not relevant. Swanson Decl.,
           12
                   Ex. 1 at 6. Levy states that Mr. Zuckerberg stopped recording his thoughts at some point and destroyed
           13
                   the notebooks “for privacy reasons,” but provides no specific time frame for when Mr. Zuckerberg
           14
                   ceased keeping notebooks. Id. at 7.
           15
                          With no reason to believe additional notebooks from the relevant time period exist or are
           16
                   relevant, Plaintiffs’ demand that Facebook search for unknown fragments of Zuckerberg’s personal
           17
                   papers is an improper fishing expedition. Bresk v. Unimerica Ins. Co., No. CV 16-8893 ODW (SSX),
           18
                   2017 WL 10439831, at *5 (C.D. Cal. Nov. 16, 2017) (“A plaintiff's mere suspicion that additional
           19
                   documents must exist is an insufficient basis to grant a motion to compel.”). The parties painstakingly
           20
                   negotiated a detailed protocol for production of ESI and hard copy documents. Dkt. 416. According
           21
                   to the protocol, the parties are to settle on specific custodians and apply search terms to their files. See
           22
                   id. at 4, 7. The parties already agreed to 82 custodians likely to possess discoverable information.
           23
                   Swanson Decl., ¶ 2. Facebook is currently deep into the extremely burdensome document review
           24
                   process, and has already produced more than 1.9 million pages. Id. ¶ 3.
           25
                          Plaintiffs’ concession that “Facebook has not yet produced the custodial files of Mr.
           26
                   Zuckerberg” is misleading insofar as it implies that Mr. Zuckerberg is one of these custodians. Mot.
           27
                   at 1 n.1. He is not. Nor is he likely to become a custodian during the present phase of discovery.
           28
                                                                        8
Gibson, Dunn &         FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                          NOTEBOOKS
                                                   CASE NO. 3:18-MD-02843-VC
                         Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 29 of 76


               1
                   Consistent with courts’ approach to discovery from apex personnel (see Section III.C, below), Judge
               2
                   Corley expressly rejected Plaintiffs’ earlier attempts to make Mr. Zuckerberg a custodian. Swanson
               3
                   Decl., Ex. 3 at 48:8-11. According to Judge Corley, if Mr. Zuckerberg ever becomes a custodian, it
               4
                   will be after Facebook’s document productions are otherwise complete, and his role will be narrow.
               5
                   Id. Until then, Facebook has no obligation to scour the files of its founder and CEO for hypothetical
               6
                   documents of dubious relevance. See United States v. Celgene Corp., No. CV 10-3165 GHK (SS),
               7
                   2015 WL 9661172, at *2 (C.D. Cal. Oct. 16, 2015) (denying relator’s motion to compel production of
               8
                   documents where the defendant corporation had “already produced millions of pages of documents,”
               9
                   the individual whose documents relator sought “was not a custodian,” and relator failed to show “how
           10
                   additional documents from [the non-custodian’s] files [were] necessary to establish her claims”).
           11
                    C.      Plaintiffs’ demand for the notebooks is an improper attempt to harass and embarrass
           12               Facebook’s CEO.
           13               Courts restrict discovery “conducted in bad faith or in such a manner as to annoy, embarrass,

           14      or oppress the person subject to the inquiry.” Hickman v. Taylor, 329 U.S. 495, 507–08 (1947); Fed.

           15      R. Civ. P. 26(c)(1). These limitations are especially appropriate, where, as here, a party attempts to

           16      expose sensitive personal information from a high-profile CEO based on a far-fetched theory of

           17      relevance. See Youngevity Int’l, Inc. v. Smith, No. 16-CV-704 BTM (JLB), 2017 WL 2692928 (S.D.

           18      Cal. June 22, 2017).

           19              Mr. Zuckerberg is not a party to this lawsuit. Indeed, Plaintiffs’ initial complaint named Mr.

           20      Zuckerberg as a non-prioritized defendant, but Plaintiffs dropped him as a party altogether in the

           21      Second Amended Consolidated Complaint—confirming that this case is not about Mr. Zuckerberg’s

           22      personal conduct. Compare Dkt. 148 at 49 (identifying Mr. Zuckerberg as a defendant) to Dkt. 491 at

           23      94 (identifying Mr. Zuckerberg as an “interested party”). As explained, Mr. Zuckerberg is not even a

           24      custodian. In the event he ever becomes a custodian, the Court has made clear that access to his files

           25      will be strictly limited, and for good reason. Plaintiffs would have an unfair advantage in litigation

           26      against large companies if they could personally expose the CEO to the constant pressure of document

           27      discovery. Accordingly, courts commonly preclude document collection from apex personnel where

           28      relevant and responsive documents are available from other sources. See, e.g., Lutzeier v. Citigroup
                                                                     9
Gibson, Dunn &           FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                            NOTEBOOKS
                                                     CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 30 of 76


               1
                   Inc., No. 4:14-cv-00183-RLW, 2015 WL 430196, at *6–7 (E.D. Mo. Feb. 2, 2015) (denying request to
               2
                   add high level executives to a custodial list because “[a]t this stage of the litigation, Plaintiff has not
               3
                   satisfied his burden to show that these high level executives have unique or personal knowledge of the
               4
                   subject matter that warrants their information”); Harris v. Union Pacific Railroad Co., Case No.
               5
                   8:16CV381, 2018 WL 2729131, at *1 (D. Neb. June 6, 2018) (denying motion to compel production
               6
                   of CEO’s documents, finding there was not “a sufficient showing that this information is necessary and
               7
                   not cumulative of other materials”); Tulip Computers Int’l BV v. Dell Computer Corp., Case No.
               8
                   CIV.A. 00-981-RRM, 2002 WL 818061, at *7 (D. Del. Apr. 30, 2002) (finding it “unclear to the court
               9
                   that a search of Dell CEO Michael Dell’s e-mails will produce responsive discovery in this case”).
           10
                          Indeed, courts have repeatedly prevented plaintiffs from chasing their hunches through Mark
           11
                   Zuckerberg’s personal files. See, e.g., BlackBerry Ltd. v. Facebook, Inc., No. CV 18-1844-GW (KSx),
           12
                   2019 WL 4544425, at *6–7 (C.D. Cal. Aug. 19, 2019) (rejecting plaintiff’s attempt to search Mr.
           13
                   Zuckerberg’s files for documents related to a newspaper editorial he wrote because nothing in the
           14
                   editorial suggested that Mr. Zuckerberg had personal knowledge relevant to the plaintiff’s claims);
           15
                   Children’s Health Def. v. Facebook Inc., No. 20-CV-05787-SI, 2021 WL 2662064, at *23 (N.D. Cal.
           16
                   June 29, 2021) (denying plaintiff’s demand for Facebook to produce an email between Mr. Zuckerberg
           17
                   and Dr. Anthony Fauci related to a COVID information hub as irrelevant to plaintiff’s claims regarding
           18
                   their Facebook page).
           19
                          This situation is no different. Facebook has already produced hundreds of thousands of pages
           20
                   related to privacy issues, including documents related to Facebook’s privacy policy implementation
           21
                   and monitoring, and privacy audits and enforcement. Swanson Decl., ¶ 4. Plaintiffs fail to meet their
           22
                   requisite burden to show that Mr. Zuckerberg’s abstract musings about privacy in contexts far removed
           23
                   from the conduct and claims at issue in the case would add anything to this tremendous volume of
           24
                   already-produced information about Facebook’s policies and conduct related to data sharing with third
           25
                   parties during the relevant time period.
           26
                          The potential for abuse is even greater in this case given the intimate nature of the notebooks.
           27
                   Swanson Decl., Exs. 1 at 4; 2 at 118. Plaintiffs’ demand thus imposes not only on Mr. Zuckerberg’s
           28
                                                                       10
Gibson, Dunn &         FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                          NOTEBOOKS
                                                   CASE NO. 3:18-MD-02843-VC
                            Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 31 of 76


               1
                   time and attention, but also his privacy interests in materials unrelated to this lawsuit. That is not a
               2
                   valid basis for discovery. See Blackmond v. UT Med. Grp., Inc., No. 02-2890 MAV, 2004 WL
               3
                   3142214, at *2 (W.D. Tenn. Nov. 2, 2004) (denying plaintiff’s motion to compel production of
               4
                   personnel records because plaintiff “does not set forth any compelling reason why these files should
               5
                   be produced[, but] merely states that the files ‘may’ contain information that is relevant to her claim[,
               6
                   which] indicates to the court that [plaintiff] is engaging in nothing more than a fishing expedition into
               7
                   an area where privacy concerns are high and relevant material may or may not exist”).
               8
                       D.      Mr. Zuckerberg’s notebooks are not responsive to Plaintiffs’ requests for production.
               9
                              Plaintiffs’ effort to compel production of Mr. Zuckerberg’s personal notebooks fails for an
           10
                   additional, separate, and simple reason: the notebooks are not responsive to any of the requests for
           11
                   production on which Plaintiffs’ motion is based (Pls.’ RFP Nos. 36, 37, 41 and 57). Fed. R. Civ. P.
           12
                   37(a)(3)(B) (“A party seeking discovery may move for an order compelling an answer . . . if . . . a party
           13
                   fails to produce documents or fails to respond that inspection will be permitted—or fails to permit
           14
                   inspection—as requested under Rule 34”); Bermudez v. Duenas, 936 F.2d 1064, 1068 (9th Cir. 1991)
           15
                   (affirming denial of motion to compel as premature where movant “had made no request for discovery
           16
                   pursuant to Rule 34”). Plaintiffs effectively conceded this point by serving a new request for
           17
                   production, not at issue here, on the same day the filed their Motion, that does expressly seek production
           18
                   of Mr. Zuckerberg’s notebooks. 7
           19
                              As an initial matter, Mr. Zuckerberg’s 2006 notebook predates the relevant time period for
           20
                   discovery in this case. Plaintiffs’ requests all seek documents from 2007 “to present” (i.e. as of the
           21
                   date of their requests). Swanson Decl., Exs. 5 at “Instructions” ¶ 1 (requesting “responsive documents
           22
                   created, modified or reviewed on or after November 1, 2009.”); 6; 7; 8. Indeed, the Court has
           23

           24      7
                     Plaintiffs’ RFP No. 71, served on August 30, 2021, seeks “All handwritten journals, diaries,
           25      notebooks, or notes written by Mark Zuckerberg or Sheryl Sandberg relating to Facebook’s policies
                   or practices, whether enacted or not, regarding safeguarding user privacy, including but not limited to
           26      the Zuckerberg notebooks, as referenced in Steven Levy’s article, Inside Mark Zuckerberg’s Lost
                   Notebook, Wired (Feb. 12, 20201) https://www.wired.com/story/facebook-mark-zuckerberg-lost-
           27      notebook/, and Chapter Six of Levy’s book, Facebook: The Inside Story (Penguin ed. 2020).”
                   Facebook’s deadline to respond to this request is September 29, 2021. Fed. R. Civ. P. 34(b)(2)(A)
           28      (“The party to whom the request is directed must respond in writing within 30 days after being
                   served”).
                                                                      11
Gibson, Dunn &              FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                               NOTEBOOKS
                                                        CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 32 of 76


               1
                   specifically ruled, and Plaintiffs’ concede that the relevant time period for discovery begins in 2007.
               2
                   Dkt. No. 381, 3/3/2020 Discovery Order No. 36 at 1; Mot. at 7. Plaintiffs’ contention that notebooks
               3
                   from before 2007 could be relevant, Mot. at 6, is beside the point; their RFPs at issue here do not seek
               4
                   pre-2007 documents, let alone Mr. Zuckerberg’s personal notebooks from that time.
               5
                          Further, Plaintiffs make no effort to explain how Mr. Zuckerberg’s personal notebooks from
               6
                   any time period fall within the reasonable scope of the four requests associated with their Motion.
               7
                   Plaintiffs’ brief does not even mention the RFPs at issue, and the accompanying Separate Statement
               8
                   simply asserts without explanation that “[t]he notebooks are relevant and responsive” to the listed
               9
                   requests. They are not. Plaintiffs’ RFP Nos. 36, 37, 41, and 57 instead concern applications and
           10
                   technologies that did not exist in 2006, along with attributes of Facebook’s platform, privacy controls
           11
                   and application settings, detailed backend technical data concerning third parties’ actual calls for
           12
                   Facebook user data, analytics data, research reports, tests, and customer service inquiries. The requests
           13
                   on which Plaintiffs purportedly based their motion thus concern actual features of Facebook’s platform
           14
                   implemented no earlier than 2007, and alleged conduct related to such features. The requests plainly
           15
                   do not relate to Mr. Zuckerberg’s concepts for the future written in his personal notebooks.
           16
                   Specifically:
           17
                          Request 36 seeks documents concerning “User testing, evaluation and analysis of Facebook’s
           18
                   Privacy Controls and App Settings during the Relevant Time Period, including . . . design documents,
           19
                   correspondence, analyses, and reports.” Swanson Decl., Ex. 6. There is no reason to believe Mr.
           20
                   Zuckerberg’s notebooks would be responsive to this request for Facebook’s technical evaluations of
           21
                   existing privacy controls and settings.
           22
                          Request 37 seeks “records or logs of API Calls made by Third Parties for” user content “of
           23
                   Friends of Installing Users.” This RFP has nothing to do with Mr. Zuckerberg’s personal thoughts in
           24
                   a handwritten notebook. Instead, it asks for massive amounts of backend technical data about actual
           25
                   API calls made to Facebook’s platform by third parties for user data. Mr. Zuckerberg’s “musings” and
           26
                   “juvenile jottings” in his personal notebook are obviously not petabytes of specific technical “records”
           27
                   or “call logs” of millions of API calls made by third parties.
           28
                                                                      12
Gibson, Dunn &         FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                          NOTEBOOKS
                                                   CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 33 of 76


               1
                          Request 41 seeks documents related “to the deletion, loss, destruction or spoliation of”
               2
                   documents that are “responsive” to Plaintiffs’ RFPs. As established above, Mr. Zuckerberg’s personal
               3
                   notebooks are not responsive to any of Plaintiffs’ RFPs asserted in their motion, or any other RFPs to
               4
                   which Facebook is presently obligated to respond. Moreover, even if Mr. Zuckerberg’s personal
               5
                   notebooks were lost or destroyed at some point, the notebooks themselves are still not responsive to
               6
                   Request 41. The request seeks documents related to the loss or destruction, which could not logically
               7
                   include the lost or destroyed documents themselves. And if the notebooks did exist, they would
               8
                   likewise not be responsive to this request.
               9
                          Request 57 seeks “[d]iscussions, analytics data, reports, surveys, tests, studies, task forces,
           10
                   projects . . . Platform changes, customer service inquiries, or User complaints” relating to “Users’
           11
                   expectations of privacy” in Facebook information. This request calls for actual reports, surveys, “data
           12
                   science projects, research projects, and academic research projects” about users’ privacy expectations
           13
                   and does not contemplate Zuckerberg’s personal thoughts about features that did not yet exist. Indeed,
           14
                   Plaintiffs’ August 18, 2020 letter seeking to memorialize the parties’ meet and confer discussions
           15
                   provides the following example of what Plaintiffs consider to be “covered by this request”: “studies
           16
                   of user engagement flow to determine whether the perception of privacy chilled or encouraged user
           17
                   engagement.” Swanson Decl., Ex. 9. Mr. Zuckerberg’s notebooks are not studies on users’ privacy.
           18
                                                           IV.     CONCLUSION
           19
                          Plaintiffs’ motion reflects their general approach to discovery in this case. They believe they
           20
                   can overwhelm Facebook and pressure its CEO by seeking discovery of anything that touches on
           21
                   “privacy” during Facebook’s history, including any privacy-related thoughts that Mark Zuckerberg
           22
                   “mused about” in his private papers more than a decade ago. Plaintiffs are mistaken. Mr. Zuckerberg’s
           23
                   notebooks are not relevant to the live claims, which the Court has limited to “four core categories of
           24
                   misconduct” involving aspects of the Facebook Platform that did not exist in 2006. Nor should
           25
                   Plaintiffs be permitted to force Facebook to undertake an aimless search through the files of its CEO,
           26
                   who is not a custodian, for additional notebooks based on nothing more than speculation that they might
           27
                   exist, might date to the relevant time period, and might contain relevant information. Finally, Plaintiffs’
           28
                                                                       13
Gibson, Dunn &         FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                          NOTEBOOKS
                                                   CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 34 of 76


               1
                   failure to first propound a request for production to which the notebooks are responsive is fatal to their
               2
                   motion regardless of the notebooks’ relevance. Facebook respectfully requests that the Special Master
               3
                   deny Plaintiffs’ motion to compel production of Mr. Zuckerberg’s notebooks.
               4

               5

               6

               7

               8   Dated: September 14, 2021                 GIBSON, DUNN & CRUTCHER, LLP

               9                                             By: /s/ Orin Snyder
                                                             Orin Snyder (pro hac vice)
           10                                                osnyder@gibsondunn.com
                                                             200 Park Avenue
           11                                                New York, NY 10166-0193
                                                             Telephone: 212.351.4000
           12                                                Facsimile: 212.351.4035

           13                                                Deborah Stein (SBN 224570)
                                                             dstein@gibsondunn.com
           14                                                333 South Grand Avenue
                                                             Los Angeles, CA 90071-3197
           15                                                Telephone: 213.229.7000
                                                             Facsimile: 213.229.7520
           16
                                                             Joshua S. Lipshutz (SBN 242557)
           17                                                jlipshutz@gibsondunn.com
                                                             1050 Connecticut Avenue, N.W.
           18                                                Washington, DC 20036-5306
                                                             Telephone: 202.955.8500
           19                                                Facsimile: 202.467.0539

           20                                                Kristin A. Linsley (SBN 154148)
                                                             klinsley@gibsondunn.com
           21                                                Martie Kutscher (SBN 302650)
                                                             mkutscherclark@gibsondunn.com
           22                                                555 Mission Street, Suite 3000
                                                             San Francisco, CA 94105-0921
           23                                                Telephone: 415.393.8200
                                                             Facsimile: 415.393.8306
           24

           25                                               Attorneys for Defendant Facebook, Inc.
           26

           27

           28
                                                                      14
Gibson, Dunn &         FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF ZUCKERBERG
Crutcher LLP
                                                          NOTEBOOKS
                                                   CASE NO. 3:18-MD-02843-VC
Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 35 of 76




   EXHIBIT C
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 36 of 76




Derek W. Loeser (admitted pro hac vice)       Lesley E. Weaver (SBN 191305)
KELLER ROHRBACK L.L.P.                        BLEICHMAR FONTI & AULD LLP
1201 Third Avenue, Suite 3200                 555 12th Street, Suite 1600
Seattle, WA 98101                             Oakland, CA 94607
Tel.: (206) 623-1900                          Tel.: (415) 445-4003
Fax: (206) 623-3384                           Fax: (415) 445-4020
dloeser@kellerrohrback.com                    lweaver@bfalaw.com

Plaintiffs’ Co-Lead Counsel

Additional counsel listed on signature page


                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC


This document relates to:                      PLAINTIFFS’ REPLY IN SUPPORT OF
                                               MOTION TO COMPEL PRODUCTION
ALL ACTIONS                                    OF ZUCKERBERG NOTEBOOKS

                                               Judge: Hon. Vince Chhabria
                                               Hon. Jacqueline Scott Corley
                                               Special Master Daniel Garrie, Esq.
                                               Courtroom: 4, 17th Floor

                                               JAMS Ref. No.: 1200058674




PLAINTIFFS’ REPLY ISO MOTION                                                     MDL NO. 2843
TO COMPEL PRODUCTION OF                                               CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 37 of 76




                                             TABLE OF CONTENTS



I.     INTRODUCTION ........................................................................................................... 1

II.    ARGUMENT .................................................................................................................. 1

       A.        The Notebooks Are Uniquely Probative of Zuckerberg’s and Facebook’s
                 Intentions and Are Highly Relevant to Claims at Issue in This Litigation. ............ 1

       B.        Plaintiffs’ Burden Is to Demonstrate the Relevance of Their Requests, Not
                 to Prove the Contents of Documents that Facebook Refuses to Produce. .............. 2

       C.        Plaintiffs’ RFPs Clearly Encompass the Notebooks, and Plaintiffs Have
                 Directly Identified the Notebooks in Subsequent Communications. ...................... 4

       D.        The Relevant Time Period of Plaintiffs’ RFPs Encompasses All of
                 Zuckerberg’s Notebooks, Including Those from 2006. ......................................... 6

       E.        Facebook’s Production Obligations Are Not Limited to Custodial Sources........... 6

       F.        Facebook Misrepresents Its Inapposite Authorities. .............................................. 7

III.   CONCLUSION ............................................................................................................... 8




PLAINTIFFS’ REPLY ISO MOTION                                   i                                              MDL NO. 2843
TO COMPEL PRODUCTION OF                                                                            CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
           Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 38 of 76




                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Bresk v. Unimerica Ins. Co.,
   No. CV 16-8893 ODW (SSX), 2017 WL 10439831 (C.D. Cal. Nov. 16, 2017) ..................... 7

Harris v. Best Buy Stores, L.P.,
   No. 315CV00657HSGKAW, 2016 WL 6024556 (N.D. Cal. Oct. 14, 2016) .................. 1, 3, 6

Lutzeier v. Citigroup Inc.,
   No. 4:14-CV-00183-RLW, 2015 WL 430196 (E.D. Mo. Feb. 2, 2015) .................................. 8

Reinsdorf v. Skechers U.S.A., Inc.,
   296 F.R.D. 604 (C.D. Cal. 2013) ........................................................................................... 3

Strategic Partners, Inc. v. FIGS, Inc.,
    No. CV 19-2286-GW (KSX), 2020 WL 2527056 (C.D. Cal. Feb. 6, 2020) ............................ 3

Tulip Computers Int’l B.V. v. Dell Computer Corp.,
    No. CIV.A. 00-981-RRM, 2002 WL 818061 (D. Del. Apr. 30, 2002) .................................... 8

Other Authorities

Fed. R. Civ. P. 26(a)(1)(A) .......................................................................................................... 7

Fed. R. Civ. P. 26(b)(1) ........................................................................................................... 1, 3

Steven Levy, Facebook: The Inside Story (2020) ............................................................ 2, 3, 5, 6




PLAINTIFFS’ REPLY ISO MOTION                                       ii                                             MDL NO. 2843
TO COMPEL PRODUCTION OF                                                                                CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
          Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 39 of 76




                                     I.         INTRODUCTION
         Plaintiffs request production of the relevant and responsive portions of Mark

Zuckerberg’s notebooks. The notebooks, far from being private, were copied and shared with

Facebook engineers, who used them as blueprints for Facebook’s features. They were

instrumental in guiding the team that developed Facebook’s privacy controls, which are directly

at issue in this litigation. They also reflect Zuckerberg’s approach to privacy—specifically, his

efforts to make Facebook appear private to its users, while not actually providing privacy—

which is also directly at issue in this litigation. Plaintiffs have met their burden of establishing

that their request is relevant, in accordance with Rule 26(b)(1), but Facebook’s opposition fails to

meet its burdens of “showing that discovery should not be allowed” and “clarifying, explaining

and supporting its objections with competent evidence.” See Harris v. Best Buy Stores, L.P., No.

315CV00657HSGKAW, 2016 WL 6024556, at *1 (N.D. Cal. Oct. 14, 2016). The Zuckerberg

notebooks should be collected, reviewed for relevance, and produced.1

                                          II.    ARGUMENT

A.       The Notebooks Are Uniquely Probative of Zuckerberg’s and Facebook’s Intentions
         and Are Highly Relevant to Claims at Issue in This Litigation.
         Plaintiffs have met their burden of demonstrating that their request for the Zuckerberg

notebooks is relevant in accordance with Rule 26(b)(1). The Court has already ruled that

documents originating at the inception of Facebook’s business model “could be probative of
Facebook’s intent regarding the future handling of users’ private information.” PTO No. 36, Dkt.

No. 381 (“It is highly plausible that documents dating back to 2007 could be probative of

Facebook’s intent regarding the future handling of users’ private information.”).

         According to Steven Levy, the author of Facebook: The Inside Story, who met with


1
    Plaintiffs incorporate by reference the arguments in Plaintiffs’ Motion To Compel Mark
    Zuckerberg And Sheryl Sandberg As Document Custodians with respect to the central role that
    Zuckerberg played in key decisions at the core of this litigation. To the extent that the
    notebooks are present in Zuckerberg’s custodial files, they are a subset of the materials that
    should be produced.
PLAINTIFFS’ REPLY ISO MOTION                       1                                     MDL NO. 2843
TO COMPEL PRODUCTION OF                                                       CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 40 of 76



Zuckerberg on multiple occasions, the notebooks contain sketches of “product ideas” and

diagrams of “coding approaches.” Steven Levy, Facebook: The Inside Story 118 (2020) (“The

Inside Story”). Zuckerberg “use[d] those notebooks to convey a detailed version of his product

vision” to others, and Facebook engineers and designers “would sometimes find a few

photocopied pages sketching out a design for a front end or a list of signals for a ranking

algorithm.” Id. These were not “‘scrawlings,’ ‘sketches,’ and ‘juvenile jottings,’” or “private,

personal writings.” Cf. Opp. at 1, 7. Rather, these notebooks constituted blueprints for

Facebook’s design that were publicly shared and posted within the company.

       Facebook’s lawyers argue that the notebooks are not relevant—without even searching

for or reviewing the notebooks. It is evident, however, that the notebooks are highly relevant to

Plaintiffs’ claims. Discovery of the intent driving Facebook’s development—including

Zuckerberg’s intentions regarding users’ privacy interests in the context of Facebook’s design

and growth—is central to this case. For instance, the team that developed the first iteration of

Facebook’s privacy controls—“including a privacy ‘mixer’ that let users control who would see

an item about them”—was “guided by copied pages from the Book of Change,” one of

Zuckerberg’s many notebooks. The Inside Story, supra, at 127, 143. In addition, the notebooks

expressly discuss Facebook’s duplicitous approach to privacy, reflecting the tension between

Facebook’s growth and users’ concerns about privacy and control of their information. For

example, in considering a new Facebook feature, Zuckerberg “seemed at least as concerned

about the perception of privacy as about privacy itself,” asking himself “‘What makes this seem

secure, whether or not it actually is?” Id. at 122-23.

B.     Plaintiffs’ Burden Is to Demonstrate the Relevance of Their Requests, Not to Prove
       the Contents of Documents that Facebook Refuses to Produce.
       Facebook seeks to turn its discovery obligations on their head, asserting that it is

somehow Plaintiffs’ burden to demonstrate that the contents of the Zuckerberg notebooks are

relevant to this litigation. See Opp. at 5 (“Plaintiffs’ Motion should be denied because they fail to

carry their burden to show that Mr. Zuckerberg’s ‘jottings’ in a notebook 15 years ago are


PLAINTIFFS’ REPLY ISO MOTION                      2                                    MDL NO. 2843
TO COMPEL PRODUCTION OF                                                     CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 41 of 76



relevant to the issues to be litigated in this case.”) Of course, this would be impossible, as

Plaintiffs have not reviewed and do not know the entirety of the contents of the Zuckerberg

notebooks—they only know what has been publicly reported about them by a journalist who

reviewed a seventeen-page excerpt of one of Zuckerberg’s “stack” of notebooks. See The Inside

Story, supra, at 118. In contrast, the Federal Rules of Civil Procedure provide that “[t]he party

seeking to compel discovery bears the burden of establishing that its request satisfies the

relevancy requirements of Rule 26(b)(1).” Harris, 2016 WL 6024556, at *1. Thus, Plaintiffs’

burden here is limited to articulating the relevance of the request—not to proving that the

materials they have requested but have not yet seen are relevant—an impossible burden not

imposed by the Federal Rules. Plaintiffs have more than met their burden.

       In fact, it is Facebook that has failed to meet its “burden of showing that discovery should

not be allowed,” as well as its “burden of clarifying, explaining and supporting its objections

with competent evidence.” See id. Far from providing “competent evidence” in support of its

objections, Facebook has produced no evidence whatsoever regarding its relevance and

responsiveness objections, and instead has flatly refused to even search for and review the

Zuckerberg notebooks for relevance or responsiveness. Facebook has thus violated its discovery

obligations. See, e.g., Strategic Partners, Inc. v. FIGS, Inc., No. CV 19-2286-GW (KSX), 2020

WL 2527056, at *7 (C.D. Cal. Feb. 6, 2020) (granting motion to compel where the defendant

“makes clear that it has not undertaken any effort to find out whether such information exists or

not,” and stating that, “[i]n order to fulfill its discovery obligations,” the defendant “must

confirm that it conducted a thorough search—not just a convenient one—with due diligence”);

Reinsdorf v. Skechers U.S.A., Inc., 296 F.R.D. 604, 615 (C.D. Cal. 2013) (“[P]arties must impose

a reasonable construction on discovery requests and conduct a reasonable search when

responding to the requests,” and “the discovery process relies upon the good faith and

professional obligations of counsel to reasonably and diligently search for and produce

responsive documents.”).



PLAINTIFFS’ REPLY ISO MOTION                      3                                      MDL NO. 2843
TO COMPEL PRODUCTION OF                                                       CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
          Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 42 of 76



C.        Plaintiffs’ RFPs Clearly Encompass the Notebooks, and Plaintiffs Have Directly
          Identified the Notebooks in Subsequent Communications.
          Facebook also incorrectly claims that the notebooks are not responsive to Plaintiffs’

discovery requests. In fact, the notebooks are directly responsive to previous discovery requests,

which were first identified to Facebook in January 2020, as well as to RFP 71, which Plaintiffs

propounded in response to Facebook’s insistence that the notebooks were not responsive to

outstanding requests. Even Facebook acknowledges that RFP 71 encompasses the notebooks.

See Opp. at 11, 11 n.7. Oddly, Facebook argues that RFP 71 is “not at issue here,” which can

only be the case if Facebook either withdraws its responsiveness objection or is seeking to delay

resolution of this issue until after its response to this RFP is due on September 29, 2021.

          For the avoidance of doubt, it is necessary to set forth the history of the parties’

negotiations regarding the notebooks. Plaintiffs first identified the notebooks as a topic of

discovery in April 2020. Pls.’ Separate Statement in Supp. of Mot. to Compel Prod. of

Zuckerberg Notebooks. Plaintiffs then requested production of the notebooks in December 2020.

Id. In January 2021, the parties met and conferred about Plaintiffs’ request for production of the

notebooks, in the context of which Plaintiffs identified numerous RFPs to which the notebooks

are responsive.2 See id. These include RFP 57, which seeks:


          All Documents concerning any discussions, analytics data, reports, surveys, tests, studies,
          task forces, projects (including data science projects, research projects, and academic
          research projects or partnerships), Platform changes, customer service inquiries or User
          complaints relating to Users’ expectations of privacy in Content and Information they
          created, shared or posted on the Facebook User Interface or data derived therefrom,
          including but not limited to User Interface or User Engagement Flow testing, qualitative
          User research reports, User surveys, studies or polls conducted by You or third-party
          consultants related to those topics.

The notebooks clearly “concern[] any discussions . . . [or] Platform changes . . . relating to


2
    Facebook falsely represents that, prior to August 13, 2021, “Plaintiffs had not stated that their
    request for Mr. Zuckerberg’s notebooks was tied to any RFP, and the parties, therefore, never
    discussed this.” Facebook’s Separate Statement in Supp. of Its Opp. to Pls.’ Mot. to Compel
    Prod. of Zuckerberg Notebooks 1-2.
PLAINTIFFS’ REPLY ISO MOTION                         4                                     MDL NO. 2843
TO COMPEL PRODUCTION OF                                                         CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 43 of 76



Users’ expectations of privacy in Content and Information they created.” For example, in

considering Open Registration—a planned Facebook Platform change—Zuckerberg asked

himself, “‘What makes this seem secure, whether or not it actually is?” The Inside Story at 122-

23. Zuckerberg “seemed at least as concerned about the perception of privacy as about privacy

itself.” Id. As such, the notebooks “concern[] any discussions, . . . [and] Platform changes . . .

relating to Users’ expectations of privacy” and are therefore responsive to RFP 57.

       Plaintiffs have also identified other requests for production to which the notebooks are

responsive, including RFP 35 and RFP 38, the text of which is set forth below.

       REQUEST FOR PRODUCTION NO. 35
       Documents relating to the manner in which a Facebook User could control how
       his or her data was shared through their Privacy Controls and App Settings
       throughout the Relevant Time Period, including but not limited to screenshots of
       the Facebook website and the Facebook mobile application.

       REQUEST FOR PRODUCTION NO. 38
       All Documents concerning privacy settings, sharing controls, and deletion
       capabilities (including permanent deletion) available to any Facebook employee,
       officer, or director using the Platform that were not available to all Facebook
       Users.

       Moreover, Judge Corley has cautioned Facebook not to “get too caught up” in its

interpretation of the text of a given RFP, stating that “the RFPs are kind of like a starting point,”

and that the parties should then “have a discussion and try to narrow it and get out what it is they

are trying to do.” Tr. of Proceedings 10:14-11:14 Dec. 9, 2020. Judge Corley noted that, when

she hears discovery disputes, she asks: “What is it that you want? . . . [W]hen somebody starts

reading to me their document requests, I stop them. . . . Just tell me in plain English what is it

that you want. And then have the other side respond. . . . That’s what it should be.” Id. at 13:19-

14:5. Here, not only are the Zuckerberg notebooks clearly encompassed by specific RFPs, but

Plaintiffs have also advised Facebook in plain English on multiple occasions that they are

requesting the notebooks. In any event, RFP 71 resolves Facebook’s objection.




PLAINTIFFS’ REPLY ISO MOTION                      5                                     MDL NO. 2843
TO COMPEL PRODUCTION OF                                                      CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 44 of 76



D.     The Relevant Time Period of Plaintiffs’ RFPs Encompasses All of Zuckerberg’s
       Notebooks, Including Those from 2006.
       Plaintiffs are entitled to discovery regarding the development of the Facebook platform

and Facebook’s intentions regarding user privacy. Facebook’s argument that the Zuckerberg

notebooks date back to 2006, and are therefore not encompassed by Plaintiffs’ RFPs, is without

merit. Plaintiffs’ RFPs define the relevant period for this action is defined as follows.

       The relevant time period for each Document Request is January 1, 2007 through
       the present (the “Relevant Time Period”), unless otherwise specifically indicated,
       or portion thereof. Each Document Request shall be interpreted to include all
       documents and information that relate to the Relevant Time Period or
       otherwise-specified period, even if such documents or information was prepared
       or published outside of the Relevant Time Period or otherwise-specified period.
       If a document prepared before or after this period is necessary for a correct or
       complete understanding of any document covered by a request, you must produce
       the earlier or subsequent document as well. If any document is undated and the
       date of its preparation cannot be determined, the document shall be produced if
       otherwise responsive to the production request.

Decl. of Alexander P. Swanson in Supp. of Opp. to Pls.’ Mot. to Compel (“Swanson Decl.”), Ex.

8, at 10 (emphasis added). The notebooks dating from 2006 are encompassed by Plaintiffs’

discovery requests insofar as they “relate to the Relevant Time Period,” even though they were

“prepared or published outside of the Relevant Time Period.” See id.

       Further, Facebook’s time period objection is inapplicable to any notebooks prepared on

or after January 1, 2007. Levy states that “[i]n later years, Zuckerberg would be less enthusiastic
about logging things,” which implies that he continued to keep notebooks in subsequent years.

The Inside Story at 118. Facebook has not stated that no notebooks prepared in or after 2007

exist, only that it refuses to search for these notebooks. As such, Facebook has failed to meet its

burden of “supporting its objections” regarding the time period “with competent evidence.” See

Harris, 2016 WL 6024556, at *1.

E.     Facebook’s Production Obligations Are Not Limited to Custodial Sources.
       Facebook falsely represents that its document review and production obligations are

limited to documents identified through the application of search terms to the files of specific

PLAINTIFFS’ REPLY ISO MOTION                      6                                     MDL NO. 2843
TO COMPEL PRODUCTION OF                                                      CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 45 of 76



document custodians. Citing to the Stipulation and Order Governing the Production of

Electronically Stored Information and Hard Copy Documents (“ESI Protocol”), Dkt. No. 416,

Facebook states that “[t]he parties painstakingly negotiated a detailed protocol for production of

ESI and hard copy documents,” and “[a]ccording to the protocol, the parties are to settle on

specific custodians and apply search terms for their files.” Opp. at 8.

       Facebook misrepresents the ESI protocol in two ways. First, the ESI protocol

encompasses both custodial and non-custodial documents, providing, for example, that the

parties are to meet and confer regarding “the custodial and non-custodial sources” of ESI to be

preserved, and that the parties “shall agree to add or remove custodians and non-custodial

sources to be preserved as reasonably necessary.” ESI Protocol at 4. As such, Facebook ignores

and misrepresents its obligation to search non-custodial sources of ESI. Second, the ESI protocol

specifically provides that, “[i]n addition to identifying documents pursuant to an agreed upon

search protocol, the parties recognize that they are obligated to produce relevant, responsive,

non-privileged documents of which they are aware, regardless of whether such documents

contain any of the agreed upon or additional search terms.” Id. at 6 (emphasis added). Similarly,

“ESI that is known to a party to be responsive to a discovery request or subject to disclosure

under Fed. R. Civ. P. 26(a)(1)(A) may not be withheld on the grounds that it was not identified

as responsive by the protocol described in, or developed in accordance with, this Order.” Id. at 8.

       As such, Facebook’s attempt to use the ESI Protocol to justify its refusal to review and

produce the Zuckerberg notebooks is improper and should not be credited.

F.     Facebook Misrepresents Its Inapposite Authorities.
       Facebooks misrepresents the few authorities it cites to support its position. For instance,

it cites Bresk v. Unimerica Ins. Co., No. CV 16-8893 ODW (SSX), 2017 WL 10439831, at *5

(C.D. Cal. Nov. 16, 2017), for the proposition that “[a] plaintiff’s mere suspicion that additional

documents must exist is an insufficient basis to grant a motion to compel.” Opp. at 8. However,

in that case the plaintiff’s motion to compel production was granted in part, and the court stated

that “the moving party must have a colorable basis for its belief that relevant, responsive

PLAINTIFFS’ REPLY ISO MOTION                      7                                    MDL NO. 2843
TO COMPEL PRODUCTION OF                                                     CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 46 of 76



documents exist and are being improperly withheld.” Id. Here, Plaintiffs have likewise provided

a colorable basis for their belief that the notebooks are relevant, based on public reporting of the

contents of the notebooks.

       Similarly, Facebook cites the patent litigation decision Tulip Computers Int'l B.V. v. Dell

Computer Corp., No. CIV.A. 00-981-RRM, 2002 WL 818061, at *7 (D. Del. Apr. 30, 2002), for

the proposition that “courts commonly preclude document collection from apex personnel where

relevant and responsive documents are available from other sources.” Opp. at 9-10. However, in

that case, the court actually granted the plaintiff’s motion to compel production of documents

“for all of the identified executives, except Michael Dell,” because Mr. Dell did not appear to

have detailed “involvement in the alleged incorporation of the patented device” at issue in the

litigation. Likewise, in Lutzeier v. Citigroup Inc., No. 4:14-CV-00183-RLW, 2015 WL 430196,

at *6 (E.D. Mo. Feb. 2, 2015), another case on which Facebook relies, the court actually granted

in part several of the plaintiff’s targeted requests for production of documents by and regarding

the defendant’s former executives, denying only the plaintiff’s request to add several executives

as custodians. Far from helping Facebook, these authorities support production of the notebooks.

                                      III.   CONCLUSION
       For the reasons set forth herein, Plaintiffs respectfully request that the Special Master

grant their motion to compel production of Mark Zuckerberg’s notebooks.



Dated: September 22, 2021                                 Respectfully submitted,


KELLER ROHRBACK L.L.P.                                    BLEICHMAR FONTI & AULD LLP

By:    /s/ Derek W. Loeser                                By:     /s/ Lesley E. Weaver
       Derek W. Loeser                                            Lesley E. Weaver

Derek W. Loeser (admitted pro hac vice)                   Lesley E. Weaver (SBN 191305)
Cari Campen Laufenberg (admitted pro hac vice)            Anne K. Davis (SBN 267909)
David Ko (admitted pro hac vice)                          Matthew S. Melamed (SBN 260272)
Adele A. Daniel (admitted pro hac vice)                   Angelica M. Ornelas (SBN 285929)
Benjamin Gould (SBN 250630)                               Joshua D. Samra (SBN 313050)

PLAINTIFFS’ REPLY ISO MOTION                      8                                    MDL NO. 2843
TO COMPEL PRODUCTION OF                                                     CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
        Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 47 of 76




1201 Third Avenue, Suite 3200                        555 12th Street, Suite 1600
Seattle, WA 98101                                    Oakland, CA 94607
Tel.: (206) 623-1900                                 Tel.: (415) 445-4003
Fax: (206) 623-3384                                  Fax: (415) 445-4020
dloeser@kellerrohrback.com                           lweaver@bfalaw.com
claufenberg@kellerrohrback.com                       adavis@bfalaw.com
dko@kellerrohrback.com                               mmelamed@bfalaw.com
adaniel@kellerrohrback.com                           aornelas@bfalaw.com
bgould@kellerrohrback.com                            jsamra@bfalaw.com

Christopher Springer (SBN 291180)
801 Garden Street, Suite 301
Santa Barbara, CA 93101
Tel.: (805) 456-1496
Fax: (805) 456-1497
cspringer@kellerrohrback.com

Eric Fierro (admitted pro hac vice)
3101 North Central Avenue, Suite 1400
Phoenix, AZ 85012
Tel: (602) 248-0088
Fax: (602) 248-2822
efierro@kellerrohrback.com

                                 Plaintiffs’ Co-Lead Counsel




PLAINTIFFS’ REPLY ISO MOTION                 9                                   MDL NO. 2843
TO COMPEL PRODUCTION OF                                               CASE NO. 18-MD-02843-VC
ZUCKERBERG NOTEBOOKS
Case 3:18-md-02843-VC Document 745 Filed 09/29/21 Page 48 of 76




  EXHIBIT D
        Case
        Case3:18-md-02843-VC
             3:18-md-02843-VC Document
                              Document745
                                       416 Filed
                                           Filed09/29/21
                                                 04/30/20 Page
                                                          Page49
                                                               1 of
                                                                 of28
                                                                    76



 Lesley E. Weaver (SBN 191305)                          Derek W. Loeser (admitted pro hac vice)
 BLEICHMAR FONTI & AULD LLP                             KELLER ROHRBACK L.L.P.
 555 12th Street, Suite 1600                            1201 Third Avenue, Suite 3200
 Oakland, CA 94607                                      Seattle, WA 98101
 Tel.: (415) 445-4003                                   Tel.: (206) 623-1900
 Fax: (415) 445-4020                                    Fax: (206) 623-3384
 lweaver@bfalaw.com                                     dloeser@kellerrohrback.com

 Plaintiffs’ Co-Lead Counsel

 Additional counsel listed on signature page


 Orin Snyder (admitted pro hac vice)
 GIBSON, DUNN & CRUTCHER LLP
 200 Park Avenue
 New York, NY 10166-0193
 Tel: 212.351.4000
 Fax: 212.351.4035
 osnyder@gibsondunn.com

 Counsel for Defendant Facebook, Inc.

 Additional counsel listed on signature page


                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

                                                        MDL No. 2843
IN RE: FACEBOOK, INC. CONSUMER                          Case No. 18-md-02843-VC-JSC
PRIVACY USER PROFILE LITIGATION
                                                        STIPULATION AND [PROPOSED]
This document relates to:                               ORDER GOVERNING THE
                                                        PRODUCTION OF ELECTRONICALLY
ALL ACTIONS
                                                        STORED INFORMATION AND HARD
                                                        COPY DOCUMENTS

                                                        Judge:    Hon. Jacqueline Scott Corley



A.     PURPOSE

       This Order will govern discovery of electronically stored information (“ESI”) and hard copy

documents (collectively, “Document” or “Documents”) in the above-captioned matter and all actions

that are later consolidated with this matter (collectively, “Litigation”), as a supplement to the Federal

Rules of Civil Procedure, this Court’s Guidelines for the Discovery of Electronically Stored

Information (“ESI Guidelines”), and any other applicable orders and rules.
                                                    1
        Case
        Case3:18-md-02843-VC
             3:18-md-02843-VC Document
                              Document745
                                       416 Filed
                                           Filed09/29/21
                                                 04/30/20 Page
                                                          Page50
                                                               2 of
                                                                 of28
                                                                    76



       Nothing in this Order establishes any agreement as to either the temporal or subject matter scope

of discovery in the Litigation, or whether a party has made a reasonable and diligent search for

Documents. Nothing in this Order establishes any agreement to any search protocol, including which

sources shall be searched. Such procedures or criteria are to be separately agreed upon.

       This Order is subject to amendment or supplementation based upon the results of anticipated

future meet and confers and by later agreement of the parties, if necessary, in light of further

developments, including, the parties’ engagement of document hosting vendors and associated

technical requirements. References are made to the Federal Rules of Civil Procedure for ease of

reference.


B.     COOPERATION AND PROPORTIONALITY

       The parties are aware of the importance this Court places on cooperation in discovery,

consistent with this Court’s Guidelines for the Discovery of ESI. The parties acknowledge that

cooperation in reasonably limiting ESI discovery requests and in reasonably responding to ESI

discovery requests tends to reduce litigation costs and delay and commit to cooperation in good faith

on issues relating to the preservation, collection, search, review, and production of ESI.

       The parties acknowledge that the proportionality standard described in Guideline 1.03 and set

forth in Fed. R. Civ. P. 26(b)(1) applies to the discovery of ESI in this action. To further the

application of the proportionality standard, the parties agree that the factors set forth in Guideline 1.03

shall be considered, and that all discovery requests for production of ESI and related responses should

and will be reasonably targeted, clear, and as specific as practicable.


C.     E-DISCOVERY LIAISONS

       The parties will rely on one or more e-discovery liaisons, as needed, to confer about ESI and to

help resolve disputes without court intervention. Each e-discovery liaison will be, or have access to

those who are:

       1.        knowledgeable about the respective party’s e-discovery efforts;

       2.        familiar with the respective party’s electronic systems and capabilities in order to

explain those systems and answer relevant questions; and
                                                      2
          Case
          Case3:18-md-02843-VC
               3:18-md-02843-VC Document
                                Document745
                                         416 Filed
                                             Filed09/29/21
                                                   04/30/20 Page
                                                            Page51
                                                                 3 of
                                                                   of28
                                                                      76



          3.     knowledgeable about the technical aspects of e-discovery, including the nature,

location, storage, accessibility, format, collection, search methodologies, and production of ESI in this

matter.

          Plaintiffs have previously identified an ESI liaison. Defendant will identify an ESI liaison or

liaisons within ten days of the entry of the order adopting of this Stipulation. In the interim,

Defendant’s counsel will be prepared to discuss any ESI issues within a reasonable time after notice by

Plaintiffs’ counsel. Each party will notify the other of any changes of its designated e-discovery liaison

or liaisons.


D.        PRESERVATION

          The parties and their counsel acknowledge that they have an obligation to take reasonable and

proportional steps to preserve discoverable information in the party’s possession, custody, or control

consistent with the Federal Rules. In accordance with ESI Guideline 2.01(d), the parties will continue

to meet and confer over their respective ESI preservation efforts and obligations. If the parties are

unable to resolve a preservation issue and one party wishes to raise the issue with the Court, that party

shall do so promptly, consistent with the Court’s order on Discovery Dispute Resolution Procedures

(Dkt. No. 393).

          The parties have discussed their preservation obligations and needs and agree that preservation

of potentially relevant ESI will be reasonable, proportionate, and within the scope of production under

FRCP 26(b)(1) and 26(b)(2)(B). To reduce the costs and burdens of preservation and to ensure

discoverable ESI is preserved, the parties agree that:

          (a)    ESI created, modified, or received since January 1, 2007, will be preserved;

          (b)    Each party is responsible for taking reasonable and proportionate steps to preserve non-

                 duplicative discoverable information currently in their possession, custody or control.

                 However, parties shall not be required to modify, on a going-forward basis, the

                 procedures used by them in the usual course of business to back up and archive data not

                 subject to a litigation hold.

          (c)    Subject to and without waiving any protection described above, the parties agree that:


                                                      3
Case
Case3:18-md-02843-VC
     3:18-md-02843-VC Document
                      Document745
                               416 Filed
                                   Filed09/29/21
                                         04/30/20 Page
                                                  Page52
                                                       4 of
                                                         of28
                                                            76



      (1)     The parties will meet and confer regarding the types of ESI they believe should

              be preserved, the custodians or general job titles or descriptions of custodians for

              whom they believe ESI should be preserved, and the custodial and non-custodial

              sources to be preserved. Nothing in this Order waives or modifies the attorney–

              client-privilege that attaches to custodial interviews.

      (2)     The parties shall agree to add or remove custodians and non-custodial sources to

              be preserved as reasonably necessary. Such requests must be made in good faith.

      (3)     The parties will meet and confer as fact discovery proceeds on whether an

              extension of time for fact discovery may be necessary.

(d)   The parties agree that ESI from the following data sources is not reasonably accessible

      because of undue burden or cost and therefore that under Fed. 26(b)(2)(B) Facebook need

      not provide discovery of ESI from these sources (ESI from these sources will be preserved

      in accordance with Facebook’s standard business practices but will not be searched,

      reviewed, or produced unless ordered by the Court):

      (1)     backup systems and/or tapes used for disaster recovery; and

      (2)     systems that are no longer in use and cannot be accessed.

(e)   The parties agree, based on mutual representation of the parties’ counsel, that the

      following sources of data are not reasonably accessible and need not be preserved,

      collected, processed, reviewed and/or produced:

      (1)    Deleted, slack, fragmented, or unallocated data generated on individual

             workstations, and only accessible by forensics;

      (2)    Random access memory (RAM), temporary files, or other ephemeral data

             generated on individual workstations and that are difficult to preserve without

             disabling the operating system;

      (3)    On-line data from the individual work stations of the employees of the producing

             party using internet browsers, such as temporary internet files, history, cache,

             cookies, and the like;



                                           4
     Case
     Case3:18-md-02843-VC
          3:18-md-02843-VC Document
                           Document745
                                    416 Filed
                                        Filed09/29/21
                                              04/30/20 Page
                                                       Page53
                                                            5 of
                                                              of28
                                                                 76



            (4)    Data in the following metadata fields, which are frequently updated automatically

                   without end user intervention: last opened dates and times, last printed dates and

                   times, last modified dates and times, and last modified by; and

            (5)    Information created or copied during the routine, good-faith performance of

                   processes for the deployment, maintenance, retirement, and/or disposition of

                   computer equipment by the party and belonging to a custodian, to the extent such

                   information is duplicative of information that resides in a reasonably accessible

                   data source.

     (f)    The parties agree that the burden and expense of preservation of the following sources of

            data for all agreed custodians is not proportionate to the needs of the case and therefore

            agree (i) to conduct custodial interviews and to determine in those interviews whether

            any of the following sources is likely to contain relevant data from that custodian; (ii) that

            if a custodian identifies any of the following sources as likely containing relevant data,

            that source will be preserved and collected; and (iii) that if a custodian does not identify

            any of the following sources as likely containing relevant data, these sources will not be

            preserved or collected:

            (1)     Voicemails and other voice messages;

            (2)     Sound recordings, including without limitation .mp3 and .wav files;

            (3)     Information contained on a mobile device that is not duplicative of information

                    that resides in an another, more easily accessible data source;

            (4)     Instant messages and chats that are not chronicled to an email archive system;

                    and

            (5)     Mobile device activity logs for the Producing Party’s devices or the Producing

                    Party’s employees’ devices.

E.   SEARCH AND REVIEW
     The parties agree to meet and confer concerning search methodologies, including without




                                                  5
          Case
          Case3:18-md-02843-VC
               3:18-md-02843-VC Document
                                Document745
                                         416 Filed
                                             Filed09/29/21
                                                   04/30/20 Page
                                                            Page54
                                                                 6 of
                                                                   of28
                                                                      76



limitation, the use of keyword search terms and/or the use of technology assisted review (“TAR”). 1

         The parties recognize that even though a document contains one or more of the search terms

identified in accordance with the procedures listed below, such document may not be responsive to any

document request. In such cases, the Producing Party is not required to produce such documents. If a

document contains one or more of the search terms in accordance with the procedures listed below,

and part but not all of the document is responsive to any document request, the Producing Party should

produce the entire document without redacting the nonresponsive portions of the document, unless the

nonresponsive portions of the document contain information (1) that would be redacted from a court

filing under Fed. R. Civ. P. 5.2(a) or (2) the disclosure of which would threaten serious competitive

harm to the Producing Party. If either of those conditions is met, the parties will meet and confer to

discuss the redaction of such information prior to the production of any redacted documents. If the

parties reach agreement regarding the redaction of such information and any portion of a document is

subsequently produced in redacted form, this will be noted in the Redaction field, included in Table 1

of Appendix A, and, within 20 days of the production of such documents, the document(s) will be

recorded on a cumulative log identifying the reason for the redaction (i.e. condition (1) or condition

(2)) and the date upon which the parties reached agreement regarding the redaction. If the parties are

unable to reach agreement regarding redaction, the document should either be promptly produced

without redaction, or the Producing Party shall promptly raise the issue with the Court, consistent with

the Court’s order on Discovery Dispute Resolution Procedures (Dkt. No. 393).

         In addition to identifying documents pursuant to an agreed upon search protocol, the parties

recognize that they are obligated to produce relevant, responsive, non-privileged documents of which

they are aware, regardless of whether such documents contain any of the agreed upon or additional

search terms.

         The parties agree that in responding to an initial Fed. R. Civ. P. 34 request, or earlier if

appropriate, they will meet and confer about methods to search ESI in order to identify ESI that is


1
    The producing party will disclose to the receiving party if they intend to use Technology Assisted
    Review (“TAR”) (including predictive coding or any other form of machine learning) to filter out
    non-responsive documents. The parties will meet and confer at that time to negotiate a suitable TAR
    protocol.
                                                      6
         Case
         Case3:18-md-02843-VC
              3:18-md-02843-VC Document
                               Document745
                                        416 Filed
                                            Filed09/29/21
                                                  04/30/20 Page
                                                           Page55
                                                                7 of
                                                                  of28
                                                                     76



subject to production in discovery and filter out ESI that is not subject to discovery.

         The parties understand the cost and complexity of reviewing and producing ESI and seek to

engage in a cooperative, iterative process to limit costs but ensure relevant, responsive documents are

likely discovered in any ESI search. As such, the parties will cooperate regarding the disclosure and

formulation of appropriate search terms for use in the responsiveness review and production of ESI.

The parties are not required to exchange privileged search terms.

         The parties will each disclose a list of the most likely custodians of relevant documents,

including the general job titles or descriptions of each custodian and will meet and confer regarding

custodians, including how the relevant ESI is maintained and where, consistent with Discovery Order

No. 1 (Dkt. No.404) and any subsequent orders entered by the Court.

         The parties will meet-and-confer in good faith regarding search terms and custodians. As part

of the meet-and-confer process to select search terms and custodians, the Producing Party will provide

a hit report for proposed search terms if requested by the Requesting Party. If the Requesting Party

objects to the sufficiency of the Producing Party’s proposed search terms, the Requesting Party may

propose modifications to the Producing Party’s terms, or a list of additional terms, subject to the

paragraph regarding Additional Terms for Good Cause below. Any disputes over additional custodians

or terms that cannot be resolved between the parties during meet and confer may be presented to the

Court.

         Disputed Search Terms: If the Producing Party contends that terms proposed by the

Requesting Party would recall an excessive number of documents (“Disputed Search Terms”), the

Producing Party will provide a Disputed Search Term hit list or hit report after global de-duplication.

The list or report should include the number of documents that hit on each term, the number of unique

documents that hit on each Disputed Term (documents that hit on a particular term and no other term

on the list), and the total number of documents that would be returned by using the proposed search

term list (including families). With respect to any search term for which the Producing Party believes

there exists a modification that will reduce the number of irrelevant documents returned by the search

term, the Producing Party will meet and confer with the Requesting Party to discuss in good faith any

such modification. For any terms that a Producing Party believes are burdensome, overly broad, and/or

                                                     7
        Case
        Case3:18-md-02843-VC
             3:18-md-02843-VC Document
                              Document745
                                       416 Filed
                                           Filed09/29/21
                                                 04/30/20 Page
                                                          Page56
                                                               8 of
                                                                 of28
                                                                    76



objectionable and for which there does not appear to be any modification that would resolve such

issues, the Producing Party will meet and confer with the Requesting Party to discuss in good faith its

objections to such search terms. As part of that process, the Producing Party will, upon request,

provide the Requesting Party with the quantitative information discussed above. In the event that a

dispute remains after quantitative information is evaluated, the Requesting Party may ask for (and the

Producing Party will not unreasonably withhold) qualitative information about the disputed search

term(s). The Producing Party agrees to consider a reasonable number of good faith requests from the

Requesting Party to review a random sample of documents and their family members with unique hits

that hit on the disputed search terms and to discuss the results of that review with the Requesting Party.

For any random sample that is reviewed, the parties will, in good faith, attempt to reach agreement on

the appropriate sample size.

       Additional Terms for Good Cause: Once a search term list is finalized (either though

agreement of the parties or Order of the Court) and all iterative searches for a custodian are complete,

the Requesting Party may propose additional search terms for a Producing Party to consider, but the

Producing Party will have no obligation to re-search the custodian’s electronic data using such

additional search terms without agreement or a court order. The Requesting Party must show good

cause for any additional proposed search terms, such as, for example, that the proposed term, or the

significance of the proposed term, was unknown to them as of the time the original list was formulated;

provided, however, that this provision does not relieve a Producing Party of any obligation that may

arise, pursuant to the Federal Rules of Civil Procedure or applicable case law, to conduct additional

searches in the course of the litigation. If a Producing Party cannot meet any applicable deadlines for

the production of documents as a result of this provision, the parties will negotiate in good faith a

reasonable timeline for production or seek an order from the Court.

       Known Responsive ESI: ESI that is known to a party to be responsive to a discovery request or

subject to disclosure under Fed. R. Civ. P. 26(a)(1)A) may not be withheld on the grounds that it was

not identified as responsive by the protocol described in, or developed in accordance with, this Order.

       Discrete folders or collections of Documents that are identified by a custodian as likely to be

responsive will be collected and preserved pursuant to standard business practices and processes that

                                                     8
        Case
        Case3:18-md-02843-VC
             3:18-md-02843-VC Document
                              Document745
                                       416 Filed
                                           Filed09/29/21
                                                 04/30/20 Page
                                                          Page57
                                                               9 of
                                                                 of28
                                                                    76



are reasonably designed to ensure all potentially responsive documents are identified and collected.

       The parties will continue to meet and confer regarding any search process issues as necessary and

appropriate. This ESI protocol does not address or resolve any other objection to the scope of the parties’

respective discovery requests.

       Nothing in this Order shall be construed or interpreted as precluding a producing party from

performing a responsiveness review to determine if documents captured by search terms are in fact

relevant to the requesting party’s request. Further, nothing in this Order shall be construed or interpreted

as requiring the production of all documents captured by any search term if that document is in good

faith and reasonably deemed not relevant to the requesting party’s request or is privileged.

F.     PRODUCTION FORMATS

       Appendix A sets forth the technical specifications that the parties propose to govern the form of

production of documents in this litigation, absent agreement by the parties or order by the Court.

       The parties have agreed to specifications identifying the file formats under which Documents

will be produced, as described in Appendix A. To the extent a party believes that a Document that has

been produced should be produced in a different or alternative format, or a party raises any questions

or concerns regarding a produced Document, the parties will meet and confer on the issue.

       ESI will be deduplicated globally across all custodians using industry standard deduplication

methods and software as set forth in Appendix A.

       Each party will use its best efforts to filter out common system files and application executable

files by using a commercially reasonably hash identification process. Hash values that may be filtered

out during this process are located in the National Software Reference Library (“NSRL”) NIST hash

set list. System and program files defined on the NIST list need not be processed, reviewed, or

produced. The parties may suppress container files (.ZIP, .PST, .RAR) that do not reflect substantive

information prior to production, but must produce the remainder of those responsive, non-privileged

document families found within the container file, including any emails to which that container file is

attached. Similarly, the parties may suppress any non-substantive images extracted from email

documents (e.g., logs, icons) prior to production).

       E-mail thread analysis may be used to reduce the volume of emails reviewed and produced,

                                                      9
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 58
                                                               10 of 76
                                                                     28



provided the Producing Party discloses that it is using e-mail thread analysis. “E-mail thread analysis”

means that where multiple email messages are part of a single chain or “thread,” a party is only

required to produce the most inclusive message (“Last In Time E-Mail”) and need not separately

produce earlier, less inclusive e-mail messages or “thread members” that are fully contained within the

Last In Time E-mail. An earlier e-mail is fully contained in the Last In Time E-mail only if the Last In

Time E-mail includes all previous emails, including attachments and identical senders and recipients,

on the thread. Only email messages for which the parent document and all attachments are contained in

the Last In Time Email will be considered less inclusive email messages. For avoidance of doubt, if a

thread member contains any additional data that is not contained in the Last In Time E-mail (including

without limitation attachments or BCC recipients), it is not a less-inclusive e-mail and must be

separately produced. Where a Last In Time E-Mail is produced, the producing party will include

metadata corresponding to the following metadata fields for each of the earlier thread members fully

contained within the Last In Time E-mail: Sent Date, Sender, Recipient, CC, BCC, and Subject.

       If a receiving party raises an issue regarding the usability or format of a produced Document,

the parties the parties will meet and confer regarding whether an alternative form of production is

necessary or appropriate and seek Court intervention only if necessary.

       The parties recognize that certain information to be produced in discovery may reside in

proprietary systems and formats. The producing party will take reasonable steps to produce documents

from such sources in a reasonably usable format with appropriate metadata in line with how the

information is kept in the usual course of business. If after reviewing the produced Documents a

receiving party raises a specific issue or concern about a produced Document or data, the parties will

meet and confer regarding whether an alternative form of production or additional metadata is

necessary or appropriate.

G.     DOCUMENTS PROTECTED FROM DISCOVERY

       The provisions and protections of a Fed. R. Evid. 502 stipulation are being separately

negotiated. The parties will submit a proposed 502(d) stipulation in accordance with the Court’s order

(Dkt. No. 404).



                                                   10
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 59
                                                               11 of 76
                                                                     28



H.     PRIVILEGE LOGS

       Where a document is withheld from production entirely or in part by redaction on the basis of

the attorney-client privilege or work product doctrine, the Producing Party will produce a privilege log

in Microsoft Excel format. The parties will meet and confer to determine a separate protocol for the

production of privilege logs.

       Nothing in this Order shall be interpreted to require disclosure of irrelevant information or

relevant information protected by the attorney-client privilege, the work-product doctrine, or any other

applicable privilege or immunity. The parties do not waive any objections to the production,

discoverability, admissibility, or confidentiality of documents and ESI.

I.     OBJECTIONS PRESERVED

       Except as provided expressly herein, the parties do not waive any objections as to the

 production, discoverability, authenticity, admissibility, or confidentiality of Documents. Nothing in

 this Order waives the right of any party to petition the Court for an order modifying its terms upon

 sufficient demonstration that compliance with such terms is unreasonably burdensome or infeasible or

 that the production of particular Documents in a different format or with different metadata fields is

 reasonably necessary, provided, however that counsel for such party must first meet and confer with

 the counsel for the opposing parties and the parties shall use reasonable best efforts to negotiate an

 exception from or modification to this Order prior to seeking relief from the Court.

J.     RETENTION OF ORIGINAL DOCUMENTS
       Each party agrees to retain native electronic source documents for all ESI produced in this

 litigation unless another manner is mutually agreed upon by the parties. Each party agrees to use

 reasonable measures to maintain the original native source documents in a manner so as to preserve

 the metadata associated with these electronic materials at the time of collection.

K.     MODIFICATIONS
       This Stipulated Order may be modified by agreement of the parties memorialized in a
Stipulated Order of the parties or by the Court.

L.     TIMING AND PHASING OF PRODUCTIONS
       When a party propounds discovery requests pursuant to Fed. R. Civ. P. 34, the parties agree to

                                                    11
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 60
                                                               12 of 76
                                                                     28



phase the production of ESI by producing documents on a rolling basis. Following the initial

production, the parties will continue to meet and confer to prioritize the order of subsequent

productions. Production in the Litigation is anticipated to be conducted with the parties making

reasonable efforts to expedite the process.

M.     EFFECTIVE DATE
       The provisions of this ESI Protocol will take effect upon the entry of an order of the Court

approving and adopting this ESI Protocol.

       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

Dated: April 27, 2020                                        Respectfully submitted,


KELLER ROHRBACK L.L.P.                                       BLEICHMAR FONTI & AULD LLP

By:    /s/ Derek W. Loeser                                   By:    /s/ Lesley E. Weaver
       Derek W. Loeser                                              Lesley E. Weaver

Derek W. Loeser (admitted pro hac vice)                      Lesley E. Weaver (SBN 191305)
Lynn Lincoln Sarko (admitted pro hac vice)                   Anne K. Davis (SBN 267909)
Gretchen Freeman Cappio (admitted pro hac vice)              Joshua D. Samra (SBN 313050)
Cari Campen Laufenberg (admitted pro hac vice)               Matthew P. Montgomery (SBN 180196)
David Ko (admitted pro hac vice)                             Angelica M. Ornelas (SBN 285929)
Adele A. Daniel (admitted pro hac vice)                      555 12th Street, Suite 1600
1201 Third Avenue, Suite 3200                                Oakland, CA 94607
Seattle, WA 98101                                            Tel.: (415) 445-4003
Tel.: (206) 623-1900                                         Fax: (415) 445-4020
Fax: (206) 623-3384                                          lweaver@bfalaw.com
dloeser@kellerrohrback.com                                   adavis@bfalaw.com
lsarko@kellerrohrback.com                                    jsamra@bfalaw.com
gcappio@kellerrohrback.com                                   mmontgomery@bfalaw.com
claufenberg@kellerrohrback.com                               aornelas@bfalaw.com
dko@kellerrohrback.com
adaniel@kellerrohrback.com

Christopher Springer (SBN 291180)
801 Garden Street, Suite 301
Santa Barbara, CA 93101
Tel.: (805) 456-1496
Fax: (805) 456-1497
cspringer@kellerrohrback.com

Plaintiffs’ Co-Lead Counsel


                                                   12
       Case 3:18-md-02843-VC Document 745
                                      416 Filed 09/29/21
                                                04/30/20 Page 61
                                                              13 of 76
                                                                    28




GIBSON, DUNN, & CRUTCHER LLP
By: /s/ Orin Snyder
Orin Snyder (pro hac vice)
osnyder@gibsondunn.com
200 Park Avenue
New York, NY 10166-0193
Telephone: 212.351.4000
Facsimile: 212.351.4035

Deborah Stein (SBN 224570)
dstein@gibsondunn.com
333 South Grand Avenue
Los Angeles, CA 90071-3197
Telephone: 213.229.7000
Facsimile: 213.229.7520

Joshua S. Lipshutz (SBN 242557)
jlipshutz@gibsondunn.com
1050 Connecticut Avenue, N.W.
Washington, DC 20036-5306
Telephone: 202.955.8500
Facsimile: 202.467.0539

Kristin A. Linsley (SBN 154148)
klinsley@gibsondunn.com
Martie Kutscher (SBN 302650)
mkutscherclark@gibsondunn.com
555 Mission Street, Suite 3000
San Francisco, CA 94105-0921
Telephone: 415.393.8200
Facsimile: 415.393.8306

Russell H. Falconer (pro hac vice pending)
2001 Ross Avenue, Suite 2100
Dallas, TX 75201
Telephone: 214.698.3170
Facsimile: 214.571.2900

Attorneys for Defendant Facebook, Inc.

       IT IS SO ORDERED.

       Dated: ____________,
               April 30     2020



                                             The Honorable Jacqueline Scott Corley
                                             United States Magistrate Judge
                                                  13
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 62
                                                               14 of 76
                                                                     28




                                           APPENDIX A
I      Production Format
       All ESI is to be produced in an imaged file format with the corresponding metadata,
appropriate load files, searchable text, and, where specified, native format files. The parties
agree that certain file types should be produced in their native file format. Where ESI exists in
databases or as structured data, production in an alternative format may be preferred and the
parties agree to meet and confer to determine an appropriate format. To the extent that any party
made a document production before the entry of this ESI protocol that included ESI that was
produced in a format that differs from the agreed upon format described below, the parties agree
that, where feasible, that ESI will be reproduced in the agreed-upon format described below.
Where reproduction in that format is not feasible, the parties will meet and confer regarding a
feasible production format.
A.     TIFF Image Files. The parties agree that all Documents will be produced as single-
page, 1-BIT, black and white Group, IV TIFF image files of at least 300 dpi resolution, except as
provided in section I.C. Page size shall be 8.5 x 11 inches unless otherwise agreed. Each image
file will use the Bates number of the page as its unique file name. Bates numbers and
confidentiality designations shall be branded on each produced image. Original document
orientation as displayed in the native file should be maintained in the produced image (i.e.,
portrait to portrait and landscape to landscape). Where feasible, documents which contain
hidden content, tracked changes, comments, deletions, or revision marks (including, where
available, the identity of the person making the comment, deletion, or revision and the date and
time thereof), speaker notes, or other user-entered data that the source application can display to
the user shall be processed such that all such data is visible (or marked as redacted for privilege
or pursuant to the procedure described in Section E of the ESI Protocol) in the produced image.
       Where the TIFF image is unreadable or has materially degraded the quality of the
original, or where the Requesting Party obtains through discovery a file or Document that it
believes is not adequately represented in an image file format, the Producing Party will, upon
reasonable request, re-produce the image in another feasible format (such as a reimaged TIFF,
near-native reproduction, native format, or other reasonably usable format).
B.     Text Files. Each Document produced under this Order shall be accompanied by a single,
multipage text file containing all of the text for that item, not one text file per page. Each text



                                                 -1-
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 63
                                                               15 of 76
                                                                     28




file shall be named to use the Bates number of the first page of the corresponding production
item.
        1.     OCR: The text for each hard copy document shall be generated by applying
               optical character recognition (“OCR”) technology to the scanned image of the
               document. The parties will endeavor to generate accurate OCR and will utilize
               quality OCR processes and technology. OCR text files should indicate page
               breaks where possible.
        2.     Text Files: The text of each ESI item shall be extracted directly from the ESI
               native file unless technologically infeasible. Extracted text shall include available
               comments, revisions, tracked changes, speaker notes, and hidden content
               (including, worksheets, slides, columns, rows, notes). To the extent it is not
               technically feasible to extract text directly from the native file the text for each
               ESI item shall be generated by applying OCR to the native file under the
               provision above. Text files will not contain the redacted portions of documents.
        3.     Foreign Language Text: In the event that discoverable ESI includes foreign
               language text and is produced in a way that it is otherwise unusable, the receiving
               party will raise the issue and the parties will meet and confer regarding an
               appropriate manner to reproduce the materials in a usable format.
C.      Production of ESI in Native Format. The parties agree that the following types of files
will be produced in native format: presentation-application files (e.g. MS PowerPoint);
spreadsheet-application files (e.g., MS Excel, Google Sheets); and multimedia audio/visual files
such as voice and video recordings, if any (e.g., wav, .mpeg, and .avi). Media files shall be
produced in the native format in which they are maintained unless the parties discuss and agree
to an alternative format in advance.
        The Producing Party shall produce a single-page TIFF slip-sheet for each native file,
indicating that a native item was produced. The corresponding load file shall include NativeLink
information for each native file that is produced. If a Document to be produced in native format
contains privileged or information redacted pursuant to the procedure set forth in Section E, the
Document will be produced in TIFF format with redactions and OCR text to remove the
privileged material from the searchable text.




                                                -2-
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 64
                                                               16 of 76
                                                                     28




D.      Bates Numbering. Each TIFF image produced under this Order must be assigned a
unique Bates number that must always: be unique across the entire Document production;
maintain a constant length of the numeric digits (including 0-padding) across the entire
production; contain only alphanumeric characters, no special characters or embedded spaces;
and be sequential within a given Document.
        Attachments to Documents and embedded objects extracted from or attached to
Documents or e-mails will be assigned Bates numbers that directly follow the Bates numbers on
the Documents to which they are attached. Parent-child relationships for all groups of hard copy
documents as specified in section III.C.5, and all embedded ESI as specified in section I.F, will
be indicated by applying sequential Bates numbers to all items within the parent-child group, and
identified by Bates numbers in the relevant ESI metadata fields specified in section II. For
example, if a party is producing an e-mail with attachments, the attachments will be processed
and assigned Bates numbers in sequential order, following consecutively behind the parent e-
mail.
        Each TIFF image will have its assigned Bates number electronically “burned” onto the
image. The Producing Party will brand all TIFF images in the lower right-hand corner with its
corresponding Bates number. If the placement in the lower right-hand corner will result in
obscuring the underlying image, the Producing Party will attempt to adjust the Bates number as
near to that position as possible while preserving the underlying image. If a Bates number or set
of Bates numbers is skipped, the skipped numbers or set of numbers will be noted.
E.      Attachments. The parties agree that if any part of an e-mail or its attachments is
responsive, the entire e-mail and attachments will be considered responsive. The parties
acknowledge that if any part of an e-mail or its attachments is privileged, that email and/or
attachment may be withheld or redacted for privilege.
F.      Embedded Files. The parties agree to take reasonable steps to ensure that embedded ESI
(e.g., a spreadsheet embedded within a word processing document, multimedia and other word
processing files embedded in PowerPoint) shall be produced as independent document records
and that the parent-child relationship is indicated by assigning sequential Bates numbers as set
forth in section D.
G.      Color. The parties may submit reasonable requests for reproduction of documents in
color where color is necessary to accurately interpret the document. The production of such



                                               -3-
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 65
                                                               17 of 76
                                                                     28




Documents in color shall be made in JPEG format. If either party deems the quality of the
Document produced in JPEG format to be insufficient, the Producing Party may produce the
color image in TIFF or another reasonably usable format. All requirements for productions
stated in this Order regarding production in TIFF black and white format apply to any production
of Documents in color JPEG or TIFF format.
H.     Confidentiality Designations. If a particular Document has a confidentiality
designation, the designation shall be stamped on the face of all TIFF images pertaining to such
Document, in the lower left-hand corner of the Document. Each responsive document produced
in native format will have its confidentiality designation indicated on its corresponding TIFF
placeholder. The confidentiality designation should also be reflected in the Confidentiality
metadata field specified in section II.
I.     Redaction. The parties agree that where non-Excel-type spreadsheet ESI items need to
be redacted, they shall be produced solely in TIFF with each redaction clearly indicated on the
Document. Any unaffected data fields specified in section II shall be provided.
       The text file corresponding to a redacted Document may be generated by applying OCR
in accordance with section I.B for all unredacted portions of the Document. The Document must
be marked as such in the accompanying redaction metadata field as specified in section II.
       Documents redacted or withheld for privilege will be logged.
       Where Excel-type spreadsheets need to be redacted, the Producing Party may choose
whether to redact in the native file or in a TIFF format so long as such redactions do not affect
the operation of the file. Formulas may be “flattened” and replaced with actual value. The party
shall maintain the original Excel-type spreadsheet before redactions are applied as to maintain
the original metadata fields.
       If the items redacted and partially withheld from production are PowerPoint type
presentation decks or Excel-type spreadsheets, and the native items are also withheld, the entire
ESI item will be produced in TIFF format and the Producing Party will make reasonable efforts
to produce all unprivileged pages, hidden fields and other information that does not print when
opened as last saved by the custodian or end-user. For PowerPoint-type presentation decks, this
shall include, but is not limited to, any speaker notes. For Excel-type spreadsheets, this shall
include, but is not limited to, hidden rows and columns, all cell values, annotations and notes.
The Producing Party shall also make reasonable efforts to ensure that any spreadsheets produced



                                                -4-
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 66
                                                               18 of 76
                                                                     28




only as TIFF images are formatted so as to be legible. For example, column widths should be
formatted so that the numbers in the column will display rather than “##########.”
       If the items redacted and partially withheld from production are audio/visual files, the
Producing Party shall provide the unprivileged portions of the content. If the content is a voice
recording, the parties shall meet and confer to discuss the appropriate manner for the Producing
Party to produce the unprivileged portion of the content.
J.     Encryption. To the extent practicable, before the application of search terms to a
database of Documents, the searching party shall use reasonable efforts to de-encrypt encrypted
Documents in the database if otherwise, without de-encryption, the search terms will not pick up
hits in the encrypted Documents.
       The parties will make reasonable efforts to ensure that all encrypted or password-
protected Documents are successfully processed for review and production under the
requirements of this Order, including all automated mechanisms presently offered by the party’s
document vendor and approaching the custodian for any relevant passwords, if the custodian is
accessible, and if produced in Native format, the decrypted Document is produced. To the extent
encrypted or password-protected Documents are successfully processed according to the
requirements of this Order, the parties have no duty to identify the prior encrypted status of such
Documents but will produce such processed Documents in accordance with the specifications of
this Order. The parties will consider reasonable requests for information regarding the number,
custodians, and/or locations of encrypted documents that are not able to be de-encrypted using
reasonable means.


K.     Database Records and Structured Data. To the extent that any party requests
information that is stored in a database, or database management system, or proprietary system,
the Producing Party will identify the database and platform to the Requesting Party, and will
meet and confer in good faith in an attempt to reach agreement on the data to be produced and
the form of the production to ensure that any information produced is reasonably usable by the
Requesting Party and that its production does not impose an undue burden on the Producing
Party, by, for example, requiring development of reports and/or software code to extract the
information. The Producing Party will provide information about the database reasonably
necessary to facilitate that discussion.


                                               -5-
       Case 3:18-md-02843-VC Document 745
                                      416 Filed 09/29/21
                                                04/30/20 Page 67
                                                              19 of 76
                                                                    28




       To avoid doubt, information will be considered reasonably usable when produced in CSV
format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format. To the
extent a party is constrained from producing responsive ESI because of a third party license or
because software necessary to view the ESI is hardware-dependent, the parties shall meet and
confer to reach an agreement on alternative methods to enable the Requesting Party to view the
ESI.
L.     Deduplication. The Producing Party need only produce a single copy of a particular ESI
item, and may deduplicate ESI vertically by custodian, or horizontally (globally) across the
population of records. The parties agree to the following:
       1.      Duplicates shall be identified by using industry standard MD5 or SHA-1
               algorithms only to create and compare hash values for exact matches only. The
               resulting hash value for each item shall be reflected in the HASH field specified
               in section II.
       2.      Deduplication shall be performed only at the Document family level so that
               attachments are not de-duplicated against identical stand-alone versions of such
               Documents and vice versa, although each family member shall be hashed
               separately for purposes of populating the HASH field in section II.
       3.      An email that includes content in the BCC or other blind copy field should not be
               treated as a duplicate of an email that does not include content in those fields,
               even if all remaining content in the email is identical. Deduplication may be
               applied across the entire collection (i.e., global level), in which case the custodian,
               filepath, and filename metadata fields should list the primary custodian, filepath,
               and filename, as a source of the primary copy of the document, while
               deduplicated custodians will be listed in the Duplicate Custodian, Duplicate
               Filepath field and separated by semicolons if there are multiple values. In the
               event that the Producing Party becomes aware that Duplicate Custodian,
               Duplicate Filepath metadata has become outdated due to rolling productions, the
               Producing Party will produce within a reasonable time an overlay file providing
               all of the custodians, and filepaths for the affected documents.




                                                -6-
         Case 3:18-md-02843-VC Document 745
                                        416 Filed 09/29/21
                                                  04/30/20 Page 68
                                                                20 of 76
                                                                      28




M.       Metadata Fields and Processing. ESI items shall be processed in a manner that
preserves the source native file and all metadata without modification, to the extent reasonably
and technically possible, including their existing time, date and time-zone metadata consistent
with the requirements provided in this Order. ESI items shall be produced with all of the
metadata and coding fields set forth in section II.
         1.       Time Zone. ESI items shall be processed to reflect the date and time standardized
                  to a single time zone for all productions by a party, that time zone shall be Pacific
                  Standard Time (PST). The parties understand and acknowledge that such
                  standardization affects only dynamic fields and metadata values and does not
                  affect, among other things, dates and times that are hardcoded text within a file.
                  Dates and times that are hard-coded text within a file (for example, in an e-mail
                  thread, dates and times of earlier messages that were converted to body text when
                  subsequently replied to or forwarded; and in any file type, dates and times that are
                  typed as such by users) will be produced as part of the document text in
                  accordance with the formats set forth in section I.
         2.       Hidden Content. ESI items shall be processed in a manner that preserves hidden
                  columns or rows, hidden text or worksheets, speaker notes, tracked changes,
                  comments, and other rich data (including, but not limited to strikethrough text,
                  etc.) as displayed in the Document to the extent reasonably and technically
                  possible.
         3.       Manual Population. The parties are not obligated to manually populate any of the
                  fields in section II if such fields cannot be extracted from the native file or created
                  using an automated process with the exception of the following fields, if
                  available: (1) BegBates; (2) EndBates; (3) BegAttach; (4) EndAttach; (5)
                  Custodian; (6) Redacted (Y/N); (7) Confidentiality; (8) HashValue 1; (9)
                  DeDuped_Custodian; (10) NativeFile; and (11) TextPath.




 1
     In the case of Documents that were scanned from hard copy, the HashValue field is not required.



                                                       -7-
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 69
                                                               21 of 76
                                                                     28




N.     Hard Copy Documents.
       1.      Coding Fields: All coding information defined in section II as applicable to
               “Paper,” shall be produced in the data load file accompanying production of hard
               copy documents.
       2.      Unitization of Hard Copy Documents: The parties will make reasonable efforts to
               ensure that hard copy documents are logically unitized for production. The
               parties will make their best efforts to unitize parent-child groups correctly.
       3.      Identification: Where a document or a document group – such as folder, clipped
               bundle, or binder – has an identifiable and accessible identification spine, “Post-It
               Note” or any other label, the information on the label shall be scanned and
               produced as the first page of the document or grouping if doing so would be
               reasonable and proportional to the needs of the case.
O.     Load Files: All productions will be provided with data load files and image load file as
detailed in section III.B & III.C. Each party will designate its preferred load file format. The
image load file must reference each TIFF file in the corresponding production, and the total
number of TIFF files referenced in the load file must match the total number of image files in the
production. The total number of Documents referenced in a production’s data load file should
match the total number of designated Document breaks in the corresponding image load file for
that production.
II     Production Metadata Fields
       Parties shall produce extracted metadata for all Documents and include the following
fields to the extent available and subject to other limitations above, except that if the field
contains privileged information, that privileged information may be redacted. If burden or
technological difficulty is claimed by the Producing Party, it must be disclosed to the Requesting
Party. Any redactions for privilege reasons shall be recorded on a privilege log. The parties
reserve the right to request that additional metadata fields set forth or provided for certain
specified electronic documents upon review of the other party’s production. The parties also
reserve their respective rights to object to any such request.




                                                 -8-
        Case 3:18-md-02843-VC Document 745
                                       416 Filed 09/29/21
                                                 04/30/20 Page 70
                                                               22 of 76
                                                                     28




                                               Table A.
        FIELD NAME                       FIELD DESCRIPTION                         APPLICABLE FILE
                                                                                       TYPE(S)

          BEGBATES                     Beginning production number               E-mail, E-Doc, Paper, and
                                         for a given file/document                        Other 2

          ENDBATES                   Ending production number for a              E-mail, E-Doc, Paper, and
                                          given file/document                              Other

        BEGATTACH                     Production number of first page            E-mail, E-Doc and Other
                                               of attachment

        ENDATTACH                     Production number of last page             E-mail, E-Doc, and Other
                                            of last attachment

         CUSTODIAN                      Person, shared file or other             E-mail, E-Doc, Paper, and
                                       source from whom files were                         Other
                                                 collected

           FILESIZE                     The original file size of the            E-mail, E-Doc, and Other
                                           produced document

       PRODVOLUME                         The production volume                  E-mail, E-Doc, Paper, and
                                       associated with the produced                        Other
                                                   file

DEDUPED CUSTODIAN                       To identify other custodians             E-mail, E-Doc, and Other
                                          whose files contained a
                                       particular document that was
                                      eliminated through exact match
                                        HASH value de-duplication

    DUPLICATE FILEPATH               Folder locations of documents             E-mail, E-Doc, and Other
                                     held by other custodians whose
                                     copy of the document was not
                                     produced based on exact match
                                     HASH value de-duplication.
                                     Folder names shall be delimited
                                     by semicolons
             HASH                           MD5 Hash Value                            E-mail and E-Doc




2
    Other is defined as Documents for which internal metadata is not exchanged, including but not limited to,
    scanned Documents and Documents obtained from the internet.



                                                       -9-
   Case 3:18-md-02843-VC Document 745
                                  416 Filed 09/29/21
                                            04/30/20 Page 71
                                                          23 of 76
                                                                28




                              Table A.
   FIELD NAME           FIELD DESCRIPTION                 APPLICABLE FILE
                                                              TYPE(S)

  ATTACHNAME         The file name(s) of attachments   E-mail and E-Doc
                     to a parent documents
                     (separated by a semicolon)
  EMAILSUBJECT              E-mail Subject line                  E-mail

      FROM                   E-mail Sender                       E-mail

       TO                   E-mail Recipient                     E-mail

       CC                    E-mail Copyee                       E-mail

      BCC                 E-mail Blind Copyee                    E-mail

    DATESENT               Date Sent & Time                 E-mail and Other

                       (MM/DD/YYYY HH:MM)

  DATERECEIVED           Date Received & Time               E-mail and Other

                       (MM/DD/YYYY HH:MM)

  DATELASTMOD            Date modified & Time                    E-Doc

                       (MM/DD/YYYY HH:MM)

  DATECREATED             Date created & Time                    E-Doc

                       (MM/DD/YYYY HH:MM)

TIMEZONEPROCESSED    The originating time zone of the E-mail, E-Doc, and Other
                     Document
      TITLE            Any value populated in the                E-Doc
                       Title field of the document
                                 properties

     SUBJECT         Any value populated in the        E-Doc
                     Subject field of the document
                     properties
     AUTHOR            Any value populated in the                E-Doc
                      Author field of the document
                                 properties




                                  - 10 -
    Case 3:18-md-02843-VC Document 745
                                   416 Filed 09/29/21
                                             04/30/20 Page 72
                                                           24 of 76
                                                                 28




                                 Table A.
    FIELD NAME             FIELD DESCRIPTION                    APPLICABLE FILE
                                                                    TYPE(S)

 LASTMODIFIEDBY         Any value populated in the last      E-Doc
                        modified by field of the
                        document properties
     ITEMTYPE           Identifies whether the file is an    E-mail and E-Doc
                        e-mail, attachment to e-mail, or
                        loose e-doc
     REDACTION           Identifies whether the file was      E-mail, E-Doc, Paper, and
                            redacted and the reason                     Other

    PAGECOUNT           The number of pages of the           E-mail, E-Doc, Paper, and
                        Document, excluding the pages        Other
                        of documents in the same
                        family
   ATTACHCOUNT          Number of attached files             E-mail
   CONFIDENTIAL           Identifies whether the file is      E-mail, E-Doc, Paper, and
                            designated confidential                     Other

     FILENAME                  Original file name                        E-Doc

      FILEPATH           Original file path to the file or        E-mail and E-Doc
                          e-mailbox folder structure

   FILEEXTENSION          Indicates file extension of         E-mail, E-Doc, and Other
                         source native file (e.g., .msg,
                                .doc, .xls, etc.)

  NATIVEFILEPATH         Path to native file as produced                 Native

   TEXTFILEPATH          Path to OCR or extracted text        E-mail, E-Doc, Paper, and
                                     file                               Other

CONVERSATION INDEX      The Identifer Value assigned by               E-mail, Other
                              a Program to group
                           communication/message
                            conversations together

 HAS HIDDEN DATA        Indication of the existence of       E-Doc, Other
                        hidden data such as hidden text,
                        columns, rows, worksheets,
                        comments, or notes
 PST/OST/NSF filename   PST/OST/NSF filename.                E-mail
      FOLDER            Folder location of the e-mail        E-mail
                        within the PST/OST/NSF


                                       - 11 -
       Case 3:18-md-02843-VC Document 745
                                      416 Filed 09/29/21
                                                04/30/20 Page 73
                                                              25 of 76
                                                                    28




                                         Table A.
       FIELD NAME                  FIELD DESCRIPTION                  APPLICABLE FILE
                                                                          TYPE(S)

       MESSAGE ID               The Unique Identifier assigned     E-mail
                                by a program to a
                                Message/Communication
       APPLICATION              Indicates software application     E-mail, E-Doc, Other
                                that generated the ESI item
      DOCUMENT TYPE             Descriptor for the type of         E-mail, E-Doc, Paper, and
                                document: “E-Doc” for              Other
                                electronic documents not
                                attached to e-mails; “E-mail”
                                for all e-mails; “E-attachment”
                                for files that were attachments
                                to e-mails; and “Physical” for
                                hard copy physical documents
                                that have been scanned and
                                converted to an electronic
                                image

III    Production Delivery Requirements
A.     General Instructions
       1.    All productions must be made by secure file transfer, if practical, to agreed-upon
             e-mail addresses. In the event the Producing Party deems it is not practical to
             upload a voluminous production to secure file transfer site, it shall be sent to the
             receiving parties by overnight mail on CD-ROM, DVD, external hard drive (with
             standard PC-compatible interface), or such other readily accessible computer or
             electronic media.
       2.    Each production shall be accompanied by a cover letter that includes the
             production date, production volume identifier, confidentiality designation for the
             production, and the Bates number range.
       3.    Each media volume must have its own unique name and a consistent naming
             convention (for example ZZZ001 or SMITH001) and be labeled with the
             following:
                    a.        Case number;

                    b.        Production date;

                    c.        Bates range;


                                             - 12 -
     Case 3:18-md-02843-VC Document 745
                                    416 Filed 09/29/21
                                              04/30/20 Page 74
                                                            26 of 76
                                                                  28




                   d.      Disk number (1 of X, 2 of X, etc.), if applicable.

     4.    The Producing Party shall encrypt the production data using WinRAR or 7-Zip
           (or similar AES-256 bit) encryption, and the Producing Party shall forward the
           password to decrypt the production data separately from the CD, DVD, external
           drive or FTP to which the production data is saved.
     5.    Any data produced by the Producing Party must be protected in transit, in use, and
           at rest by all in receipt of such data. Parties will use best efforts to avoid the
           unnecessary copying or transmittal of produced documents. Any copies made of
           produced data must be kept on media or hardware employing whole-disk or folder
           level encryption or otherwise secured on information systems and networks in a
           manner consistent with the best practices for data protection. If questions arise,
           Parties will meet and confer to ensure security concerns are addressed prior to the
           exchange of any documents.
B.   Image Load Files
     1.    Image load (cross-reference) files should be produced in format that can be loaded
           into commercially acceptable production software, such as Concordance Image
           (Opticon) format.
     2.    The name of the image load file should mirror the name of the delivery volume,
           and should have the appropriate extension (e.g., ABC001.OPT).
     3.    The volume names should be consecutive (e.g., ABC001, ABC002, et seq.).
     4.    There should be one row in the load file for every TIFF image in the production.
     5.    Every image in the delivery volume should be cross-referenced in the image load
           file.
     6.    The imageID key should be named the same as the Bates number of the page.
     7.    Load files should not span across media (e.g., CDs, DVDs, hard drives, etc.), i.e.,
           a separate volume should be created for each piece of media delivered.
     8.    Files that are the first page of a logical document should include a “Y” where
           appropriate. Subsequent pages of all documents (regular document, e-mail, or
           attachment) should include a blank in the appropriate position.
     9.    TIFF images should be provided in a separate folder and the numbe of TIFF files
           per folder should be limited to 1,000 files.


                                            - 13 -
     Case 3:18-md-02843-VC Document 745
                                    416 Filed 09/29/21
                                              04/30/20 Page 75
                                                            27 of 76
                                                                  28




     Sample Concordance Image (Opticon) Load File:
           MSC000001,MSC001,D:\IMAGES\001\MSC000001.TIF,Y„,3
           MSC000002,MSC001,D:\IMAGES\001\MSC000002.TIF,,,,,
           MSC000003,MSC001,D:\IMAGES\001\MSC000003.TIF,,,,,
           MSC000004,MSC001,D:\IMAGES\001\MSC000004.TIF,Y,,,2
           MSC000005,MSC001,D:\IMAGES\001\MSC000005.TIF,,,,,
C.   Data Load Files:
     1.    Data load files should be produced in .DAT format.
     2.    The data load file should use standard delimiters:
                  a)      Comma - ¶ (ASCII 20);

                  b)      Quote - þ (ASCII 254);

                  c)      Newline - ® (ASCII174).

     3.    The first line of the .DAT file should contain the field names arranged in the same
           order as the data is arranged in subsequent lines.
     4.    All date fields should be produced in mm/dd/yyyy format.
     5.    All attachments should sequentially follow the parent document/e-mail.
     6.    Use carriage-return to indicate the start of the next record.
     7.    Load files should not span across media (e.g., CDs, DVDs, hard drives, etc.); a
           separate volume should be created for each piece of media delivered.
     8.    The name of the data load file should mirror the name of the delivery volume, and
           should have a .DAT extension (e.g., ABC001.DAT).
     9.    The volume names should be consecutive (e.g., ABC001, ABC002, et seq.).
     10.   Sample .DAT Load File:
     þBegBatesþ¶þEndBatesþ¶þBegAttachþ¶þEndAttachþ¶þPgCountþ¶þCustodianþ
D.   OCR/Extracted Text Files
     1.    OCR or Extracted Text files shall be provided in a \TEXT\ directory containing
           Document level text files.
     2.    Document level OCR text for redacted documents or Extracted text for ESI not
           containing redaction are to be located in the same directory as its image file.




                                           - 14 -
     Case 3:18-md-02843-VC Document 745
                                    416 Filed 09/29/21
                                              04/30/20 Page 76
                                                            28 of 76
                                                                  28




     3.     The text file name shall be the same name of the first image page for the
            document set, followed by .txt.
     4.     An OCR or Extracted text file containing the produced document’s content will
            be provided for all documents whether it is produced as an image file or natively.
     5.     An OCR file may be provided for ESI when privilege redactions are required or
            where extracted text isn’t otherwise available
E.   Native Files
     1.     Native files shall be provided in a separate NATIVES\ directory containing the
            Native file referenced in the NativeFilePath field of the .DAT file.
     2.     The Native file name shall be the same name as the first image page for the
            document.




                                           - 15 -
